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                                             PAR TE TEM PO M RY RESTRM NING
      SIM PLE HEALTH PLAN S LLC etaI.,       O RDER

          Defendants.
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      1.     INTRO DUCTIO N

             TheFederalTradeCommission(ççIE
                                          7TC'')asksthisCourttohaltamassivedeceptive
      telem arketing schem ebased in southern Florida thatfalsely claim sto be selling com prehensive

      health insuranceplansto consum ersacroqsthe country. Doing businessasSimple 14ea1th Plans,

      Defendantsprey on consumersseeking affbrdable health insurance,many ofwhom are

      uninsured and havepreexisting m edicalconditions. Defendantsgain consum ers'trustby falsely

      claim ing to be aftiliated with reputableorganizations,such asthe Blue CrossBlue Shield

      AssociationandAARP,andbyfalselyclaimingto beexpertson,andprovidersotlgovernment-
      sponsored health insurance policies,such asthose offered pursuantto the AffordableCare Act.

      Defendantsthen deceive consum ersinto paying hundredsofdollarsperm onth forwhatthey are

      Ied to believe iscomprehensive health insurance. Instead,Defendantsenrollconsumersin

      productsthatprovide few ,ifany,ofthe fundam entalbenefitsofcom prehensive health insurance.

      These alternative productsconsistofdiscountm embershipsand indem nity policiesthatoffer

      negligible reim bursem entson only a subsetofm edicalservicesregardlessoftheiractualcost.

      Deceivedconsumersareeffectivelyleftuninsuredandsubjectedtonearlyunlimitedfinancial
      exposure. M any ofDefendants'victim sonly learn thatthey are stilluninsured afterincurring

      tensofthousandsofdollarsin medicalexpenses. ln stark contrast,the architectofthisscam ,

      defendantSteven Dorfm an,hassiphoned rnillionsofdollarsofproceedsfrom defrauded

      consumersto pay forprivatejettravel,gambling spreesin LasVegas,therentforhisoceanfront
      condominium,Iuxuryautomobiles,over$lmillioninjewelry,andeventhenearly$300,000cost
      ofhisrecentw edding atthe St.RegisHotelin M iam i.

             The FTC bringsthism otion exparteto im m ediately haltDefendants'ongoing unlaw ful

      conduct,whichhascausedwellover$150millioninconsumerinjury.W ithoutswiftaction,
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     significantconsumerinjuryisimminentber
                                          causeNovember1beginsOpenEnrollmentforthe
     Affordable Care Act,a period during w hich Defendantshave historically increased theirsalesby

     asmuchas350%.Thetemporaryrestrainingorder(û(TRO'')soughtbytheFTC wouldenjoin
     Defendants'deceptive salespractices,freeze theirassets,appointa tem porary receiver,and

     provide accessto D efendants'businessprem isesand records.The requested reliefis supported

     by overwhelm ing evidence ofDefendants'fraud. Thisevidence includesm ultiple declarations

     from consum ersvictim ized by Defendantsaswellasatranscriptofa salescallbetw een a

      consumerand one ofDefendants'telem arketers;declarationsfrom tw o ofDefendants'form er

     em ployeesdescribing the extentto w hich Defendants'businesspracticesare penneated by fraud;

     transcriptsofthree undercoverpurchasesconducted by FTC staff'
                                                                 ,copiesofa managem ent-

      approved salesscriptthatisdeceptiveon itsface;an expertwitness'sanalysisofthe products

      Defendantsoffer;and declarationsfrom representativesofthe Blue CrossBlue Shield

      Association,A ARP,and the BetterBusinessBureau. The reliefrequested in thism otion is

      necessarytopreventcontinuedconsumerinjury,dissipationofassets,anddestructionof
      evidence,thereby preserving thisCourt'sability to provide effective finalreliefto the victim sof

      Defendants'schem e.

     H.      DEFEN DANTS'DECEPTIVE BU SINESS PRACTICES

             Defendants'businessm odelisa classicbait-and-sw itch schem e designed to trick

      consum ersinto paying hundredsofdollars forsubstandard products underthe pretense thatthey

      areactually receiving com prehensive health insurance.Thisttinsurance,''D efendantsclaim ,will

      supposedly covernearly every aspectofhealth care,including,butnotIim ited to,doctorvisits,

      specialists,hospitalstays,laboratory services,em ergency room visits,and prescription

      m edication. Defendants also blatantly m islead m any consum ersinto believing thatthey w ill




                                                      2
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     receive governm ent-sponsored health insurance,including insurance plansthatcom ply w ith the

     guidelinessetbytheAffordableCareAct(1$ACA'').
             Theadvantagesofa health insurance policy thatcom plieswith the standardssetby the

     A CA are substantial. Forexam ple,those enrolled in AcA-qualified plans are notrequired to pay
      a fee im posed on individuals who can afford insurancebutchoose notto purchase it.l Other

      advantagesofAcA -qualified insurance include coverage ofpreexisting conditionsaswellas

      ttessentialhealth benefits,''including em ergency medicalcare,hospitalization,prescription

     m edication,preventive care,m aternity care,and pediatric care.2

             ln reality,Defendantsenrollconsulnersin Iim ited benefitindem nity plansand discount

      m embershipsthatprovide virtually none oftheprom ised benetits. Unlike com prehensive health

      insurance,which shiftssignificantfinancialrisk from the consum erto the insurance company,

      Defendants'productsdo notpay any portion ofconsum ers'healthcare costs. Atm ost,they m ay

      provide nom inalreim bursementsand potentialsavingsforcertain expenses. The Gsbenefits''

      afforded bytheseproductsaregenerallydeticientontheirface(suchasa$50annuallimitfor
     hospitalemergency room care),highly suspect(suchasapurported $634 in savingsontûlife
     extensionnaturopaths'),orcompletely unrelatedto medicalcare(suchaspetmedication,
      magazinesubscriptions,carrental,andcellphoneservice).Thetinancialconsequencesfor
     m any consum ersare devastating,often saddling them with tensofthousands ofdollars in



      lM any consum ers specitically inform Defendantsthatthey wantan ACA plan to avoid paying
     thisfee.PlaintiffsExhibitCçPX'')l0,Declaration ofDawn Hall(ûûHallDec.'')!!3 & 5
     (consumerttmadeitclear(shelwantedtoavoidthetaxpenalty''l;PX 13,DeclarationofApril
     Macary(GdMacaryDec.'')!4(consumertoldtelemarketershewantedkitoavoidincurringatax
     penalty'');PX 2l,DeclarationofCatherineTouchet(tt-l-ouchetDec.'')!4 (consumerwantedto
     tdbesurethat(shelwouldnotincurataxpenalty''l;PX 22,DeclarationofShannonVan Deusen
     (ttvanDeusenDec.'')!3(consumerûûtoldtheagent''shedidnotwanttobeobligatedtoltpaythe
     penaltyforfailingtoobtaininsurance'').
     2PX 23, DeclarationofExpertW i tnessDr.BrianM iller(ûûM illerDec.'')p.l5.

                                                     3
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      healthcare billsthatthey thoughtwould be covered by the ttinsurance''they had purchased from

      Defendants.



             A.     Defendants'Deceptive Lead G eneration W ebsites

             Defendantsadvertisetheirproductsprim arily through a network ofdeceptive Iead

      generation websitesthatmakeavarietyoffalseclaims,including thatDefendants:(1)specialize
      inproviding affordable,comprehensivehealth insurancefrom an array ofreputablecarriers;(2)
      areaffiliatedwiththeBlueCrossBlueShieldAssociationandAARP;and(3)areexpertson,and
      providersotlgovernment-sponsoredhealth insurance,including plansofferedpursuanttothe
      AcA and M edicare.3 Consumerstypièally find theirway to these websites aftersearching

      online forhealth insurance.4




      3Defendantsow n som eofthese Iead generation websitesthem selves,and also paythird parties
      forIeads.SeePX 1,DeclarationofRobertoC.Menjivar(:tMenjivarDec.'')!!27& 81-86,      .PX
      5,Declaration ofEmilGeorge(ûr eorgeDec.'')!38.Defendantsregisteralloftheirlead
      generationwebsitesusingaprivacyprotectionservicethatshieldstheiridentity.PX l,Menjivar
      Dec.!! 14-25& !!28-39.Similarly,themailingaddressdisplayedonmostofthesesitesisnot
      publiclyassociatedwith Defendants,butisinstead aUPS Storemaildrop.1d.!! 12 & 28.
      4PX 6, Declaration ofDawn Banski(û  ûBanskiDec.'')! 32,
                                                            .PX 9,Declaration ofJaneHackethal
      (çdl-lackethalDec.'')! 2;PX l0,HallDec.!4;PX l1,DeclarationofRyan Hess(tll-lessDec.'')!
      2,'PX 12,DeclarationofDavidLlamas(ûûtalamasDec.'')! 3'  ,PX 13sM acary Dec.!2, 'PX l4,
      DeclarationofHolly M andarich(ktM andarichDec.'')! 2;PX 15,DeclarationofRogerPrescher
      (EGprescherDec.'')!3;PX l6,Declaration ofAmandaScotttûûscot4Dec.'')!2;PX 17,
      Declaration ofVickiSkordilis(ttskordilisDec.'')! 2;PX l8,Declaration ofGertrudeSlawson
      (ûdslawsonDec.'')!2;PX 20,DeclarationofMichelleThomgson(ûû-l-hompsonDec.'')!2;PX
      21,TouchetDec.!2PX 22,VanDeusenDec.!2.Insomelnstances,consumerstbllow Iinks
      received in em ailortextm essagesthatDefendantspay aftiliate m arketersto dissem inate. See,
      e.g.,PX 1,MenjivarDec.!l8(premiumhealthquotes.com registeredtoDefendants),!37
      (captureofpremiumhealthquotes.com),!84(affiliatemarketlngcampaignsforPremium Health
      Quotes),& !86andp.659(unsolicitedemailpromotingPremium HealthQuotes).Seealsoid.!
      80andpp.636-43(classactiontextspam lawsuitfiledagainstDefendantsl;PX 7,Declarationof
      CurtisConner(sûconnerDec.'')!2andp.4(emailreceivedbyconsumerwithtelephonenumber
      linked to Defendantsthatstated:diFind O utA boutTrum pcare Today ...Open Enrollm entls
      Here.'').

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              Defendants'lead generation websitesdeceptively claim thatconsum ersw ho subm ittheir

      contactinformationsw illreceive m ultiple quotesforcom prehensive health insurance from Eûthe

      Nation'sLeading Carriers''and thatthesepoliciesw illinclude benefitssuch asprescription drug

      coverage,accessto doctorsand specialistsaswellas hospitaland em ergency care- allforltlow

      co-pays''and tdafrordable prem ium s.''tiDefendantsfalsely assertthatthey :dw ork closely w ith

      m ostinsurersto provide an unbiased com parison ofplan benetits,prem ium cost,and

      eligibility.''? O n one oftheirsites,healthinsurane4m e.com ,Defendantsm isleadingly claim that

      theyhaveûdassistedhundredsofthousandsofconsumerswiththeirenrollmentinmajormedical
      insurance.''B The site includesa m ock breaking-newsvideo announcing thatDefendantsoffer

      (stop quality health insurance forasm uch as66% lessthan Obam acare.''g The fake newscasterin

      thisvideo,displayed below ,claim sthatDefendants'policies include ttlow co-paysand cover

      item s like doctorvisits,accessto specialists,prescription benefits,coverage forhospitalization

      and em ergency room visits.''lo




      5'ro receive acallfrom Defendants,consum ersm ustsubm ita form with theircontact
      inform ation aswellas inform ation regarding any preexisting medicalconditions,such asHIV,
      diabetes,cancer,andmentalillness.PX 1,MenjivarDec.!!35,38& 39andpp.227,273&
       289.
       6PX 1, MenjivarDec.!I
                           !30,33,35,36,37,40& 41andpp.153,186,218,235,244,294&
     . 305.

       71d. !!39& 40andpp.257& 277.
       81d. !39andpp.276-277.
      91d.!!40& 41andpp.294,302& 303.
      101d !!40& 4landpp.294& 305.
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      The announcercloseswith thisflagrantly deceptive guarantee: ds-l-hisisnota discounthealth

      card-
          5it'srealinsurance-''ll

              M any ofDefendants'lead generation websitesalso display the Blue CrossBlue Shield or

      AARP logos.12 Onesite, www .trum pcarequotes.com ,shown below ,prom inently featuresthe

      Anthem Bluecrosslogo.13
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      111d. !40 and p.294.
      12PX 1, MenjivarDec.!!29(usamedsupp.
                                         orc),33(trumpcarequotes.com)& 42
      (hbcquotes.directandmyobamacareapplicgtion.com)andpp.138,l86,310& 314.
      131d ! 33and p.186.
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      These sitesalso identify ûûAnthem BCBS''and the ttBlueCross/Blue Shield Association

      Com panies''astûcarriersand partners''ofIlefendants.l4 In fact,Defendantsare notaffiliated

      w ith the Blue CrossBlue Shield Association orA ARP and are notauthorized to use!the

      tradem arksofthese organizations.ls

             Defendantsaggressively exploitw idespread uncertainty and confusion regarding the

      ACA bypretendingontheirleadgeneration websitestobeexpertson,orprovidersotl
      government-sponsored insurance.l6 These sitesoften referto theA CA and term sassociated w ith

      it,such astdobam acare.'' Forexam ple,one site operated by a lead generatoraffiliated with




      141d. ! 29 and p.148 (usamedsupp.
                                      org),!30andp.161(usahealthinsure.net),!32andp.l81
      (americanhealthinsure.com),!33andp.203(trumpcarequotes.com),!34andp.213
      (medigapquote.com),!35andp.230(freedomcarequotes.com),!37andp.251
      (premiumhealthquotes.com),! 38andp.266(supremehealthplans.com)& !39
      (healthinsurance4me.com)andp.284.
      15PX 27,DeclarationofLeslieNettleford! 4(AARPI;PX 29,DeclarationofJeffrey Hinshaw
      !! 5-9(BlueCrossBlueShield Association).
      16Defendantsm ake sim ilarclaim sregarding theirability to advise consum ersaboutthe ACA in
      pressreleasesand m edia interview s. Specifically,Defendantshave claim ed thattheirem ployees
      provide betterguidance to consum ersaboutthe ACA in particular,and health insurance options
      ingeneral,thanAcA-certifiedadvisors(calledttnavigators'').lnanewspaperinterview,for
      exam ple,Defendants'chiefcom pliance ofNcerasserted that,com pared to navigators,her
      em ployeestthavethe freedom to help the consum ertigure outwhat'sin theirbestinterest.''PX 1,
      MenjivarDec.!50andp.384.Similarly,inapressrelease,DefendantStevenDorfmanclaimed
      thathisemployeeshave a (ddeeper,surerfbelofthe policies,com panies,and networks,and how
      theycompare.''SeeHealth BenefitsCenterpressrelease(Jan.20,2015),
      hups://o w .m arketwatch.com /press-release/theres-still-tim e-for-aca-obamacare-open-
      enrollm ent-here-are-som e-questions-answ çrs-and-mavbe-surprises-zol5-01-20. An ACA
      navigatorisan individualororganization trained to help consum ers look forhealth coverage
      optionsavailablethrough the ACA . Navigatorsare required to be unbiased,and theirservices
      arefreetoconsumers.Defenéants'telemarketers,bycontrast,arecompensatedsolelybasedon
      commissions.PX 30,DeclarationofTerenaBaker(tûBakerDec.'' )!8(formersalesperson).
      M ùreover,asexplainedbelow,theyfollow deceptivescriptsdesigned to sellinferiorlim ited
      benefitplansand discountm em berships,notcom prehensive health insurance,m uch lessACA-
      qualitiedplans.1d.!! 11-13, .PX 31,DeclarationofLovelySeraphin(tdseraphinDec.'')!31
      (formermanager)(ç(AseveryoneatSimpleHealthknows,however,thecompany'sIimited
      benetitplansaresignificantly inferiorto traditionalhealth insurance.').
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      Defendants,displayed below ,prom inently refersto the tlobam acare M arketplace''and features

      the Blue CrossBlue Shield logorl?




      Even thissite'saddress,obamacare-plans.com ,ism isleading.

             On theirlead generation websites,Defendantsfalsely claim thatthey have helped

      Sshundredsofthousands ofconsum ers''enrollin ttobam acare.''lB These sites assertthat

      Defendantseitherwillprovide consum ersw ith quotesforACA insuranceplansorhelp

      consum erswho are shopping forsuch plans.19 The sites referto both the ACA and M edicare,



      17PX 1, MenjivarDec.!27 and pp.129-130.Oneconsumerwastirstcontacted by Defendants
      aftersubm itting hertelephone num berto theobam acare-olans.com lead generation site. PX 14,
      MandarichDec.!2.Similarly,anotherconsumerreportedbeingcalledbyDefendantsafter
      subm itting hiscontactinform ation to a differentdeceptive lead generation website,official-
      plans.com .PX 1,M enjivarl,!27andp.I32-136;PX 19,Declaration ofM ichaelStanley
      (ttstanley Dec.'')! 2.
      18PX 1, MenjivarDec.!!38& 39andpp.257& 276-77.
      19Som e ofDefendants'lead generation websitesdeceptively advise consum ersthatthey will
      receivetûhealthinsurancequotes''thatûûmayincludeacombinationofstateexchangeplans,
      federalexchangeplans,andprivatehealth lnsurance.''1d.!33andp.l86
      (trumpcarequotes.com),!36andp.236(americashealthcareadvisors.com).Othersitespromise
      thatDefendantscan dshelp''consumersikinterested in shopping on a state orfederalexchange.''
      1d.!32andp.173(americanhealthinsure.com),!30andp.153(usahealthinsure.net),!31andp.


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      using term sassociated w ith these program s.zo one site registered to Defendantsatthe URL

      healthinsurancedeadlinezol8.com ,zldisplayed below ,w arnsthatuninsured consum ersGûw illpay

      an averageObamacarepenalty ofalmost$1000,55cautionsthatthisamountttislikelyto increase

      inthecomingyear,''andurgesconsumerstoûçbeatthedeadline''andttgalvoidthesepenaltiesby
      getting insured today.''22




      165 (healthinsurancedeadlinezol8.com).ktExchange''isareferencetothehealth insurance
      m arketplace established pursuantto the ACA ,which assistsconsum ers in shopping forand
      enrolling in AcA-qualitied health insurance.
      20Defendantsalso use the ACA asan em ployee recruitmenttool,prom ising thatprospective
      em ployeesûIW ILL HAVE M ONEY THROW N A T YOU''during ûûopen enrollm ent.'' One of
      Defendants'jobpostingsfeaturesacigar-smokingmanthrowingmoneyintheairnexttothe
      statement:ûtlfyouarenotmaking moneyhand overfirst(sfclthisopenenrollmentyouarenot
      m aking them ostofyourtim e lefton thisearth. W ellguesswhat...here isyourgolden
      opportunitytoM AKE THAT M ONEYI''Id.!48andp.370.UndertheACA,tkopen
      enrollment''isa period during which individualsorem ployeesm ay add ordrop theirhealth
      insurance,orm akechangesto theircoverage. There isno such period forDefendants'lim ited
      benefitplansand m edicaldiscountm em berships.
      21Id j31andp.165.
      22Defendantsalso operate sitesthatprom ote dsM edicare Health PlansforYourN eedsand
      Budgety''invite consum ersto tûl-earn aboutM edicare and Choosea Plan with Confidence''and
      ûûcompareMedicareQuotes,''andfeaturetheAARPIogo.1d.!29andp.l38(usamedsunn.orc)
      & !42andp.318(simplemedicareplans.com).

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             ln fact,Defendantsdo notsellgovernm ent-sponsored healthcare plansorprovide advice

      regarding such plans. lndeed,they do the opposite,actively m isleading consumersaboutthe

      availability and affordability oftheiroptionsundertheA CA by steering consum ersinto

      m arkedly inferiorproductseven aherconsum ershave explicitly stated thatthey wantan ACA-




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      qualified health insurance plan.23 D uring '
                                                 x.
                                                  :
                                                  !015, while publicly boasting abouttheirsuperior

      ability to advise consum ersaboutoptionsIlnderthe ACA ,24Defendantsadm itted to state

      regulatorsthatoutofthe 103,000policiesthey soldthatyear,only 30wereAcA-qualitied(that
      is,lessthan0.029% oftheirtotalsalesvolume).25 DefendantsthencompletelyexitedtheACA
      m arketplace in 20l6.26 Despite this, theirwebsitescontinue to thisdate to prom otetheirnon-

      existentexpertise regarding governm ent-sponsored health insurance.z?

             This lack ofscrupleshaspaid oftl During the firstmonth ofopen enrollm entin 2017,

      Defendantsexperienced a 350% increase in revenue.zB A ccording to aform eremployee,

      Defendants'telem arketers can easily double theirsalesduring thisperiod.29




      23See, e.
              g.,PX 14,MandarichDec.!3(ç(lspecificallyaskedhim toconfirm thattheplanwas
      AcA-compliantand heassured methatitwas.''),
                                                'PX 13,M acary Dec.!4 (samel;PX 21,
      Touchet!3(same).Tellingly,themonthlyttpremiums''thatDefendantsquotedduringthe
      FTC'Sthree undercovertransactionsw ere roughly com parable to w hatthe undercoverpersona
      wouldpayforaûtbronze''AcA-qualifiedhealthinsurancepolicywithcomprehensivecoverage.
      PX 23,M lllerDec.pp.13 (Fig.3),29(Fig.8)& 32 (Fig.10).Nevertheless,Defendants'
      telem arketersoffered the sam e indem nity plan to each caller,which lacksm ostofthe ACA 'S
      essentialhealth benetitsand exposesconsum ersto greaterfinancialrisk. PX 23,M iller Dec.pp.
      12-13(Fig.2),p.27 (Fig.7)& p.30 (Fig.9).
      24See supra note 16.
      25PX 1, MenjivarDec.!75andp.560.
      26In a letterto the Florida DepartmentofFinancialServicesdated February 4,2016,Defendants
      stated they chose ûûnotto participate in the FederalInsuranceM arketplacethisyear.''1d.atp.
      558.SeealsoPX 30,BakerDec.! 10 (formersalesperson)(d$AsfarasIknew,SimpleHealth
      didnotofferAcA-qualified plans'').
      27Ontheirprimary,consumer-facingwebsite,Defendantsclaim thattheirçûoneobjective''isto
      ûdhelpconsumersthroughthecomplexitiesoftheAffordableCareAct.''PX l,MeqjivarDec.!
      43 and pp.321& 333.A nothersection claim sthatdefendantSteven Dorfm an Gçpositioned
      Simple Health to capitalize on the rolloutofthe AffordableCareA ct,aka Obamacare.''See
      www .sim plehealthplans.com/steve-dorfman.php. Defendantsalso operate a Iead generation
      websiteattheURLmyobamacareapplication.com.PX 1,MenjivarDec.!!25& 42andpp.
      309-312.
      281d. ! 64 and p413.Thisspikein salesalso l
                                                ed toan increasein chargebacks,which itselfIed
      totheeventualterminationofDefendants'existingmerchantaccountforûûexcessiverisk.''f#.!
      61 and p.41l.
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             B.     D efendants'Deceptive Telem arketing SalesPitch

             M any consum ersw ho subm ittheircontactinform ation to the deceptive lead generation
      websitesdescribed above receivea callfiom one of-oefendants'telem arketers,3owho typically

      identiw themselvesasaninsuranceagentIicensedintheconsumer'sstate.3lInmanyinstances,
      these telemarketersare not, in fact,properly licensed insurance agents.32

             ln callsw ith consum ers,Defendants'telem arketerspurportto offercom prehensive health

      insuranceforaone-timeenrollmentfeeofupto $175aswellasanongoingmonthly Sspremium''
      ofup to $700 ormore.33 W hen makingthispitch,telemarketersfollow amanagement-approved
      scriptthatisdeceptive on itsface.34 Defendants'scriptrepeatedly and m isleadingly




      29Px 30, BakerDec.!8.Thesameformerempl        oyeeobserved acorrespondingsurgein tklies
      and deception''by Defendants'telem arketersand noted thatm anagem entrarely,ifever,
      disciplinedanyoneforthisconduct.1d.! 14.
      30see, e.g.
                ,Px 9,HackethalDec.! 2;PX l2,HessDec.!2;PX 13,ScottDec.! 2;PX 14,
      M andarich Dec.!2',PX l9,StanleyDec.!2. SomeconsumerscontactDefendantsdirectlyby
      calling oneofthetelephone numbersdisplayed on Defendants'Iead generation w ebsites. PX 6,
      BanskiDec.!2;PX l3,MacaryDec.!3
      31See, e.g.,PX 1,Menjivar!67andpp.417& 422.
      32PX 31, Seraphin Dec.!! 19 & 43 (formercustomerservicemanagerdescribingDefendants'
      practiceofattributing salestoherlicensewithoutherknowledgeorconsentl;PX 30,BakerDec.
      !!20-21(similartestimonyfrom formersalesperson).
      33See, e.g.,PX 6,BanskiDec.!5($119enrollmentfee,$312monthlytspremium''forûIPPO''
      health insuranceplanl;PX 9,HackethalDec.!6 ($145enrollmentfee,$514 monthlyûtpremium''
      for(SPPO health insurancepolicy''l;PX 10,HallDec.!5($l55 enrollmentfee,$283 monthly
      Eûpremium''forEûPPO healthinsuranceplan'');PX 13,M acaryDec.! 5($360 monthly
      tûpremium''forAcA-complianthealth insurancepolicyl;PX 14,M andarich Dec.!4 ($120
      enrollmentfee,$88monthlyçûpremium''forAcA-complianthealth insurancepolicyl;PX l5,
      PrescherDec.! 5($l50 enrollmentfee,$720 monthlydçpremium''forETPO''healthinsurance
      policy);PX l7,SkordilisDec.!! 3-6($125applicationfee,$312monthlyfeeformajormedical
      STPO''healthinsuranceplanl;PX 20,ThompsonDec.!3($125enrollmentfee,$265monthly
      ûtpremium''formajormedicalhealthinsurancepolicyl;PX 21,TouchetDec.!3($l25
      enrollmentfee,$79monthlyfeeformajormedicalcoveragethatcompliedwithirbamacare''
      requirementsl;PX 22,VanDeusenDec.!! 3-4($80enrollmentfee,$277monthlytûpremium''
      forAcA-compliantmajormedicalhealthinsurance).
      34PX 24, Decl arationofM ichaelFissel(ltFisselDec.)!l1andpp.4-8.,PX 30,BakerDec.!9
      andpp.7-10(formersalespersonl;PX 31,SeraphinDec.!! 18& 31(formermanager)(scripts

                                                      12
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      characterizesthe lim ited benefitplansand discountm em bershipssold to consum ersast1PPOs.''35

      Italso deceptively usesotherinsuranceterm sofart,such as ltprem ium ,''(tcopay''and

      ûûdeductible''thatsim ply do notapply to Defendants'pr(7ducts.36

             Building on these facially deceptive scripts,telem arketersoften falsely claim that

      Defendants'CT PO''ûtinsurance''planscoverpreexisting medicalconditions3?and prescription

      m edications.38 M any telem arketersgo even further,leading consumersto believe they are

      receiving A cA -qualified health plans.39



      çtw eredeliberately designed to give consulnersthe im pression thatthe coverage provided by
      SimpleHealth'slimitedbenefitplanswasequalto,ifnotbetterthan,majormedicalinsurance'').
      35A sexplained by the FTC'Sexpertw itness,these productsare notPPOs. By deflnition,aPPO
      contractsw ith a broad rangeofhealthcare providers,including physicians and hospitals,
      designated asthe (dpreferred''network. Plan m em berswho usethese so-called preferred
      providersare charged a favorable copay thatcountstoward theirannualdeductible.Defendants'
      lim ited benefitplansand discountm em berships,by contrast,have no preferred network with
      favorablecontracting term sand thereforecannotbe considered a PPO . PX 23,M illerDec.p.9.
      N evertheless,in accordance with Defendants'script,telem arketersconsistently describe them as
      atypeofCTPO''tûinsurance.''See,e.g.,PX 1,MenjivarDec.l,!67andp.418(ûûSt     nthisisanA-
      ratedcarrierand aPPO''),'PX 2,Declaration ofKennethHawkins(tçl-lawkinsDec.'')! 8andp.9
      (:$W egotyouapproved asaPPO gsiclwithan A-plusrated carrier');PX 3,Declaration of
      NathanielAl-Najjar(ûtAl-NajjarDec.'')!9andp.14(ûlA-ratedcarrierandaPPO'');  '
                                                                                  ,PX 7,
      ConnerDec.!5,   'PX 18,SlawsonDec.!3andp.18(ttYougotagoodPPO insurance'').
      36PX 7, ConnerDec.!5'  ,PX 23,M illerDec.pp.9-10, .PX 30,Baker! 12(formers' alesperson).
      37PX 1, MenjivarDec.!67andp.4l8Ct-     l-heydon'tdiscriminateagainstanyofyourpreexisting
      conditions'');PX 2,HawkinsDec.!8andp.10'    ,PX 3,Al-NajjarDec.!9andp.15(çtltwill
      coverthepreexisting conditionofyourdaughter''l;PX 9,HackethalDec.!4,  .PX ll,HessDec.
      !5;PX 12,LlamasDec.!4,     'PX l5,PrescherDec.!4(û(Ispecifiedthatthepolicyneededto
      covercertain preexisting m edicalconditionsthatm y w ife and Ihad been diagnosed with and
      identifiedtheseconditionsto theagenfl;PX 19,Stanley Dec.!4.
      38PX l, M enji
                   varDec.!67andpp.419,42l;PX 2,HawkinsDec.!8andp.9(ûûYougetaplan
      thathas...prescriptionscoverage'')and p.10 (d$So,remember,itcoversyourprescriptions');
      PX 9,HackethalDec.!9,   'PX 15,PrescherDec.!4'  ,PX 17,SkordilisDec.! 5($3-6 forgeneric
      prescriptions,$15-40 fornamebrandprescriptions);PX l9,StanleyDec.!4 ($4to $l2 for
      genericprescriptions,$5to $20fornamebrand prescriptionsl;PX 20,ThompsonDec.!3($l4
      forgenericprescriptions,$35fornamebrandprescriptions).
      39Px 9, HackethalDec.!6,  'PX 10,HallDec.!!3& 5'   ,PX l3,MacaryDec.!!4-5' ,PX 14,
      MandarichDec.!3,   'PX 21,TouchetDec.!!3-4;PX 22,VanDeusenDec.!3.SeealsoPX 24,
      FisselDec.! 13,At4.B (interview withformersalesperson,whostatedthatscriptwasûûsketchy''
      and thatemployeesûûwoulddancearoundthequestion ifasked iftheplan wasACA complianfl;
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             Atthe end ofDefendants'salespitch,consum ersexpectthatthey w illreceive a

      com prehensive health insurance policy thatcoversprescription m edication,laboratory services,

      prim ary and specialty doctorvisits,and hospitalcare.40 Defendantseven guarantee som e

      consumersthatspecitic doctors orm edicationsw illbecovered by theirplan w ith only m inim al

      C0PayS.41




      PX 30,BakerDec.!!14-15(formersalesperson)(employeesliedregularlytoconsumers,
      bragged to one anotheraboutit,and were rarely,ifever,disciplined by m anagem ent,who only
      caredaboutsalesand seemed to deliberately exploitconfusionregarding theACA).
      40see, e.g.
                ,Px 1,MenjivarDec.!67andp.418(tiYou'regoingtohavedoctorofficevisits,
      diagnostictesting forblood and lab,three optionson yourm edications,m edical,surgicaland
      hospitalcoveragewith no deductible''l;PX 2,HawkinsDec' .!8andp.9(ûûwhatyou receivewith
      thepolicy isgoingtobedoctorvisits,diagnostictesting,so bloodand labwork ...(mledications
      willbecovered,surgical,andhospitalcoverage'');PX 8,Declaration ofJulesFernandez
      CfFernandezDec.'')!5(planbenetitséûincludednoout-of-pocketexpensesformajorhealth
      healthcare services'
                         ,acceptance atevery hospitaland urgentcare center'
                                                                          ,low dèductible;and,
      dependingon thedoctor,lmayormay nothaveaco-pay'');PX 9,HackethalDec.!4 (ûû-f'
                                                                                  he
      agentassured m ethathe would find a plan thatenabled m eto seeany doctorlwanted and would
      also coveral1ofmy pre-existingconditionsand currentmedications''l;PX 16,ScottDec.! 4
      (telemarketerrepeatedlyassuredconsumerthatshewouldreceivemajormedicalinsurance,
      w hich the consum erunderstood m eantaplan thatw ould cover(dhospitaland doctorvisits,
      medicaltests,andprescription drugs''l;PX 18,Slawson Dec.!4 (ttNellietoldmethatthepolicy
      sheoffered would coverdoctor'svisits,lab work,and surgicalcosts,thatitrequired no
      deductible,noclaim forms,andthatithadnolimits.'');PX l9,StanleyDec.!4(telemarketer
      tiindicated thatthe insurance plan w ould coverdoctorvisits,diagnostictesting,m edicaland
      surgicalprocedures,hospitalization').
      41See, e.
              g.,PX 1MenjivarDec.!67andpp.420,421($25copayforunlimiteddoctorvisits,
      and $4-$12copayforprescription medications);PX l4,M andarich Dec.! 3(plan included
      doçtorsinconsumers'area);PX l5,PrescherDec.!4($35 copayfordoctorvisits);PX l7;
      SkordilisDec.!5(telemarketerclaimedthatplanhadno deductibleforhospitalization,
      maxim um out-of-pocketexpenseof$1,250 perpersonperyear,$35copay forurgentcarevisits,
      and a$50copayforemergency room visitsl;PX 18,SlawsonDec.! 12 andp.14 (ûdYouwill
      neverpaymorethan$50to seeadoctor,okay?'');PX 19,StanleyDec.! 6(telemarketerassured
      consumerthatdoctorwaswithinplan'snetworkl;PX 20,ThompsonDec.!3(telemarketer
      claimed tlplan had nodeductibles,thatthecopay fordoctorvisitswas$10 forprimarycare
      physiciansand$30forspecialists...andkconsumerlwouldpayunder$35fornamebrand
      prescriptionsandunder$14 forgenericprescriptionf'l;PX 2l,TouchetDec.! 3(consumerwas
      prom isedthatplanwould includedoctorvisits,clinicvisits,andprescription allwitha$20
      copay).
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              ln three undercovercallsconducted by the FTC,telem arketersm ade m isrepresentations

      consistentw ith - and oûen moreegregiousthan - Defendants'facially deceptive salesscript. In

      one undercovertransaction,Defendants'telem arketerclaim cd to find a LT PO ''dûhealth

      insurance''policy thatwould coverprecxisting conditions,including diabetestreatm entneeded
                                                                                  .



      by the caller'sdaughter.do The telem arketernotonly guaranteed the plan w ould tûcoverthe

      preexisting condition ofyourdaughter,''btltclaim ed thatDefendants'tûsystem ''specitically

      selected the plan çsbecause itdoescoverpreexisting conditions.''o Notwithstanding these

      unequivocalassurances,Defendantsactually sold thecallera lim ited benetittthospital

      indem nity''policy and a discountm em bership,am ong otherproducts,notcom prehensivehealth

      insurance.44 w hat'sm ore, plan docum entsplainly show thatthe child'sdiabetesand alIrelated

      treatmentsare excluded for 12 m onthsfrom even the exceedingly narrow benefitsconferred by

      thettindem nity''policy because diabetesw ould be classified asa preexisting condition.4s

              Even Defendants'm anagerspersonally engage in thisdeception. During one ofthe

      FTC'Sundercovercalls,a managerwho identitied him selfasûûK irsch''intervened and assured

      the callerthathis medicalneedswould be çûcovered 100 percent''by D efendants'tûhealth

      insurance plan.''46 çtlkirsch''also prom ised the callerthathedid notûshaveto worry aboutbeing




      42PX 3, Al-NajjarDec.! 9and p.15.
      43Id
      441d.j 11andpp.37,59('tTHISPROGRAM ISNOT INSURANCE.IT ISA DISCOUNT
      PROGRAM .''I& ! 12 and pp.79-80 (ttAccident& SicknessHospitalIndemnity P1an'').
      451d atp.47(tt
          .        -rhereisno coverageforapre-existing conditionforacontinuousperiodof12
      monthsfollowingtheeffectivedateofaCoveredPerson'scoverageunderthePoIicy.'').The
      coverage lim itationsdetined in these docum entsare,in m any respects,ludicrouson theirface.
      ltEmergencyRoom Benetit,''forexample,islimitedto $50perday withamaximum ofoneday
      ofcoverageperyear.PX 3,Al-NajjarDec.!llandp.39.Themaximum annualcoverageis
      limitedtojust$3200.PX 23,M illerDec.p.22.
      46PX 1, MenjivarDec.!67andp.433.Eû  lkirsch''islikelyKirschnerAlteme,theagentincharge
      ofdefendantHealth BenetitsOne.1d.at! 7and p.124.
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      penalized''underthe ACA .47 Theplan documents provided afterthe purchase belie these

      representations,however,showing thatthe lim ited benefitand discountm em bership,as

      discussed below in section ll.D,would have covered only a fraction ofhism edicalexpenses.4B

      The sam edocum entsalso acknowledge thatenrollm entin thepoliciesalone may resultin

      additionaltax paym ents,a reference to the A CA penalty the consum erwould have incurred

      despite enrolling in Defendants'program .4g

             C.     D efendantsEnrollConsum ersin Lim ited BeneitPlansand M edical
                    DiscountM em berships,NotCom prehensiveH eaIth lnsurance

             ThevastmajorityofconsumerswhocontactDefendantsdosoinsearchof
      com prehensive health insurance,including AcA-qualitied health plans.50 contrary to prom ises

      on theirlead generation websitesand in telem arketing calls,Defendantsdo notsell

      com prehensive health insurance policiesto these consum ers,m uch lesspoliciesfrom tûthe

      nation'sleading''carriers,such asA nthem Blue Cross. lnstead,Defendantstypically enroll


      471d.at!67andp.433.
      48consumersdo nothave an opportunity to seethese documentspriorto completing the sale. If
      consum ersask forw ritten docum entation aboutthe plansbefore agreeing to purchasethem ,
      telem arketersrefuseand state thatthey are notcapable ofproviding docum entation.See PX 2l,
      TouchetDec.!4;PX 9,HackethalDec.! 9,     'PX 19,StanleyDec.!! 10-11.
      49 PX 1, MenjivarDec.!33andp.448(t    ûaccident& sicknesshospitalindemnityplanisnot
      majormedical....Lackofmajormedicalcoverage(orotherminimum essentialcoverage)may
      resultinan additionalpaymentwithyourtaxef').
      50px 30, BakerDec.!(  ! 10-11(formersalespersonl;PX 3l,Seraphin Dec.!31(fol-mer
      manajer).SeealsoPX 6,BanskiDec.!4(consumerspecificallyaskedfor($atraditional
      indivldualhealthinsuranceplanthatwould providecomprehenslvecoverage');PX 9,Hackethal
      Dec.!4(consumeraskedfortûmajormedicalinsurancewithlow deductiblesandcllpays''l'  ,PX
      13,M acary Dec.!3 (consumeraskedfortçfullmedicalcoverage');PX 15,PrescherDec.!(4
      (consumerexplainedthathewanted tlfullInedicalhealth insurancesimilartomy currentpolicy
      withAetna'l;PX 17,SkordilisDec.!!3& 4(consumer,aretirednurse,askedfortûmajor
      medicalhealthinsurance''andaskedspecificquestionsaboutcoveragesherequiredl;PX 20,
      ThompsonDec.!4(t(lreiteratedthatlwantedanation-widefullcoveragemajormedical
      insurancepIan'')'
                      ,PX 21,TouchetDec.jg3 (consumerasked forttaffordablepreferredprovider
      organizationplanwithfullmedicalcoverage'l;PX 22,VanDeusenDec.!3(constlmer
      informed telem arketerthatshe needed ûûm alorm edicalinsurance thatm etallthe requirem entsof
      theAffordableCareAct'').
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      consumersin atIeasttwo inferiorproducts:a limited benefitplan (also knownasan indemnity
      planorhospitalindemnity plan)andamedicaldiscountmembership.slTheseproductsoffer
      virtuallynoneofthebenetitsoftraditionalhealthinsuranceandsubjectconsumerstonearly
      unlim ited tinancialexposure formedicalexpenses.sz

             Defendants'lim ited benefitplansclaim to partially reim burse consum ers for'threenarrow

      categoriesofmedicalexpenses,butthe purported reim bursementsare grossly inadequate in

      relation to realhealthcare costsand are farlessthan whatan actualcom prehensive insurance

      policy would cover. Forexam ple,Defendants'typicallim ited benefitplan restrictstotalyearly

      coverageto:$100 perdayforhospitalcarewith amaximum of30daysperyear;$50 per
      doctors'ofticevisitwithamaximum ofthreevisitsperyear;and $50perday foremergency
      room carew ith a single day ofcoverageperyear.53 In otherwords,them aximum annual

      reimbursementallowableunderDefendants'planisjust$3200.54 Moreover,anindividualcould
      onlyrealizethisbenetitajterbeinghospitalizedforatIeast30daysandincurringtheassociated
      financialburden,which the plan would notbegin to cover,55assum ing the claim swere even paid



      51Defendantsfrequently bundleaccidentaldeath and dismem berm entplansw ith the other
      products sold to consum ers. TheseItA D& D''plansare lim ited benefitlife insurance policies
      withaseparatemonthlyprem ium .SeePX 6,BanskiDec.!9 and pp.15-17,24-25.
                                                                           ,
                                                                           .PX l1,Hess
      Dec.! l1andpp.14 & 20.,PX 12,LlamasDec.! 7and p.15*
                                                        ,PX l6,ScottDec.! 1landpp.28-
      3l,36-39,
              .PX 22,Van Deusen Dec.! 6andpp.l2-24.
      52Unlike traditionalhealth insurance,these productsdo notshiftrisk from the consum erto an
      insurer.PX 23,MillerDec.pp.10(tûlnmajormedicalplans...thehealthplanbearsthe
      supermajorityofboththefinancialandclinicalrisk....Incontrast,inSimpleHealth'splans,the
      consumerbearsthose risks both because ofthe productdesign ...and because the Sim ple Health
      plansofferextremely limited scopeofcoveredservices.'')& 20(medicaldiscountplansarenot
      riskbearing).
      53See, e.g.,Px 1,MenjivarDec.!70andp.459,
                                              .PX 2,HawkinsDec.! 12andp.62.
                                                                          ,PX 3,Al-
      NajjarDec.! 11andp.39.
      54See PX 23, M illerDec.p.22.
      55For2015, theaverageadjustedcostforinpatientcareinU.S.hospi
                                                                 talswas$2,271perday.
      SeeHenryJ.KaiserFamilyFoundation,iillospitalAdjustedExpensesperlnpatientDay,''
      hlps://o w.kff.org/health-costs/state-indicator/expenses-per-inpatient-day/. ln fact,
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      out.56 Aside from theirnegligible financialcoverage,Defendants'plansalso contain num erous,

      gaping exclusionsand om issions. ln particular,despiteexplicitprom isesto the contrary by

      Defendants'telem arketerss?and theirlead generation websites,sBthe plansexclude coverage of

      preexisting m edicalconditionsforthetirstyearand provide no coverage forprescription

      m edications.sg

              Defendants'discountm em berships,m eanwhile,m erely purportto provideconsum ers

      w ith accessto variouspre-negotiated savings from third parties,only som eofw hich relate to

      healthcare. ln addition to trivialprescription drug discounts,f'
                                                                     oforexam ple,thesediscounts

      supposedly also applyto identity theftprotection,cellphoneservice,tlowers,vitamins,tfavel?

      carrentaland purchase,dietand exercise program s,m agazine subscriptions,petinsurance and

      m edications,dining,and m ovie tickets.fl Otherm em bership program spurportto offer

      thousands ofdollars'worth ofbenefitsconsisting ofaccessto ttwellnessspecialists,''Stlife



      Defendants'own lead generation website scaresconsum ers into purchasing theirplansby
      claimingthatathree-dayhospitalstaycouldcostEûaround$30,000.''PX l,M enjivarDec.!31
      and p.165.Seealso PX 23,M illerDec.pp.17-18(discussingûûconservative''estimatesof
      inpatienthospitalcostsbasedonMedicarestatistics).
      56Px 17, Skordilis!(9 (allofconsumer'sclaimsdenied).
      57See, e.
              g.,PX 1,MenjivarDec.!67andp.418;PX 3,Al-NajjarDec.!9andpp.14-15'       ,PX 9,
      HackethalDec.!4,  'PX 1l,HessDec.! 5' ,PX l2,LlamasDec.!4, 'PX 15,PrescherDec.!4 Ctl
      specitied thatthe policy needed to covercertain preexisting medicalconditions ...and identified
      theseconditionstotheagenfl;PX 19,StanleyDec.!4.
      58See, e.g.
                ,PX 1,M enjivar! 39andpp.294,305.
      591d ! 69andp.448 (ût
          .                l-hisinsurancedoesnotpayanybenefitsforSicknesscaused byor
      resulting from a Covered Person'sPre-existing Condition ifthe Sicknessoccursduring thetirst
      12monthsthataCoveredPersonisinsuredunderthispolicy'l;PX 2,HawkinsDec.!llandp.
      39(same);PX 3,Al-NajjarDec.! 11and p.47(ttr
                                                lmhereisno coverageforapre-existing
      condition fora continuous period of12 m onthsfollow ing the effective date ofa Covered
      Person'scoverageunderthePolicy').Defkndants'plansalsodonotcovernursepractitioners,
      physician assistants,rehabilitation hospitals,orpsychiatric hospitals. PX 23,M illerDec.p.19.
      60PX 10, HallDec.! 10 (attemptedtopurchaseprescriptionwi        tha$70retailpriceandwastold
      thatDefendants'planwould provideadiscountofthreedollars).
      61PX 1, MenjivarDec.!70andpp.473-90@ CE LifestyleSavingProgram)& 513-17(Med-
      SenseGuaranteedAssociation);PX 2,HawkinsDec.! 12andpp.76-78& pp.l08-09.


                                                     18
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      extension naturopaths,''and iûcom prehensive education lifestyle coaching.''to W hatevertheir

      benefits,however,these mem bershipsdo notprovide consum erswith the com prehensive health

      insurance they thoughtthey w erepurchasing.63

             D.     Defendants'Lim ited BeneftPlansand D iscountM em berships Do NotPay
                    for M edicalServicesTypically Covered by C om prehensiveH ealth lnsurance

             Consum ersare unableto use Defendants'lim ited benetitsplans and discount

      m em bershipsto pay formedicalexpensesorreceivem eaningfuldiscountsorsavingsforsuch

      expenses.Forexample,oneconsumeragreedtopay $283 permonth aswellasa$155
      enrollmentfee forw hatDefendants'telem arketerled herto believe w ould be an AcA-qualitied

      health insurance pIan.64 The consum erbroughtherktinsurance''card to thepharmacy to t1ll

      prescriptionsonly to discoverthatitwasa prescription discountplan,notinsurance,and thatit

      entitledhertoasavingsofjustthreedollars.65Defendantsadvisedanotherconsumertoschedule
      m edicalappointm entsthrough a so-called tûconcierge''service available asa partofwhatthe

      telemarketerassured the consum erwas an AcA-qualified plan w ith no deductiblespurchased for

      $277permonth with an$80 enrollmentfee.66 W hentheconsumerattemptedto makean
      appointm entwith herdoctor,she learned thatDefendants'plan would notcoverany ofthe costs

      ofsuch a visit.67



      62PX 16, ScottDec.! 12andp.51($634 inpurported savingson ts
                                                                lifeextension vitaminsand
      supplements''and$125 inpurported savingsontépetcare'');PX 22,VanDeusenDec.! 11and p.
      38.
      63PX 23, M illerDec.p.20 (to iscountmembershi  psdo notguaranteecoverageofmedical
      servicesorpharm aceuticalproducts,ratherthey serve asa tbuyer'sclub'akin to a grocery store
      saverscard....Iam unaware in alIm y yearsofpracticing medicine,regulation,and health
      insurance ofdiscountm em bershipslike the onessold by Sim pleH ealth playing any significant
      role intheprovision ofhealthcare.'').
      64Px 10, HallDec.! 5.
      651d. ! 10.
      66PX 22, VanDeusen Dec.! 3,4,l0.
      671d. ! 14.


                                                      19
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               One ofthe FTC 'Sundercovertransactionsillustratesthe gulfbetween whatDefendants

      prom ise in theirsalespitch and them eagel'benetitsavailable to consumersunderDefendants'

      plans. During thiscall,an FTC investigatorasked aboutcoverage fortwo particularspecialists

      atthe Em ory Clinic in Atlanta aswellasm ultiple preexisting conditions.68 Defendants'

      telem arketerclaimed thatthe investigatorqualified fora comprehensive ûT PO ''health insurance

      planwith a$263monthlytipremium .''tig Accordingtothetelemarketer,(1)thetwo Emory
      specialistsidentifiedbytheinvestigatorwereintheplan'spreferredprovidernetworki7o(2)the
      investigatorwould be able to schedule unlim ited appointm entswith these physiciansand pay no

      morethan $25pervisiti?land(3)theplan wouldallow theinvestigatortoobtainthediabetes
      drug Victozafor$4to $12 perprescription.o AlIoftheseclaimsarepatentlyfalse.Defendants
      enrolled the investigatorin a tthospitalindem nity''plan,notcom prehensive health insurance.73

      Thisplan hasno contractualrelationship w ith theEm ory Clinic - thus,a patientattem pting to

      use thisplan w ith the physiciansidentitied by the investigatorwould be treated asuninsured and,

      foraroutineofficevisit,billedatarateof$232to $458,not$25aspromised by Defendants'
      telem arketer.M The telem arketer'sassurancesregarding prescription drug costsproved equally

      m isleading. Defendantsenrolled the FTC 'S investigatorin a prescription discountprogram that




      68px 1, MenjivarDec.! 67andpp.417,420.
      691d. atp.418($$
                     So thisisan A-ratedcarrierand aPPO.So like lsaid,aPPO meanslikeyou
      chooseyourown doctorsandhospitalsandyoudon'tneedareferraltoseeaspecialisf')andp.
      419 (ûûAnd youalso youhaveyourprescription medications...youhavemedical,surgical,and
      hospitalcoveragewithnodeductible').
      701d. atpp.420-2l.
      711d. atp.42l.
      72gd
      13
           Jt;I!70atp.455-71.
           .

      74PX 26, Declarati
                       onofAndrew Rowles!!3& 4(Director,PatientAccountsatEmory
      Healthcare).
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      would requireaconsumerintheAtlantaareato pay $850-$900tot5llaVictozaprescription,
      hundredsofdollarsm ore than prom ised by thetelem arketer.7s

             The financialconsequencesofDefbndants'm isrepresentationshave been ruinousfor

      consum ers,m any ofwhom do notrealizethatthey areuninsured untilafter incurring substantial

      m edicalexpenses.M According to Defendants'form ercustom erservice manager,consumers

      oûen complained aboutreceiving thousandsoreven tensofthousandsofdollarsin unreim bursed

      m edicalbills,especially forem ergency room visitsand surgicalprocedures.7? O ne consumer

      purchased whatDefendants Ied herto believe wasa PPO health insurance policy thatcovered

      doctorvisits,lab work,and surgicalcosts.78 consistentw ith theirscript,D efendants'

      telemarketeralso assured the consumerthere would beno deductible forhospitalvisits,which

      the consum erreasonably understood to m ean thatany expensesrelated to hospitalcare would be

      covered by the plan.?9 shortly afterpurchasing whatshe believed wascom prehensive health

      insurance,the consumerand herhusband each required em ergency medicalcare and incurred




      75px l5MenjivarDec.!71.
      76See, e.
              g.,PX l7,SkordilisDec.!9 (consumerincurred thousandsofdollarsin expenses
      relatedtotreatmentforherselfandson,noneofwhichwasreimbursedby Defendants'planl;PX
       15,PrejcherDec.!17(consumerincurredover$25,000inmedicalexpenses,noneofwhich
      werecovered byplanthatDefendantsrepresentedto bemajormedicalhealth insurance).
      ??PX 315Seraphin Dec ! 1#.
                            .

      78px 18 slaw son Dec ! 4.
                            .

      79In the course ofits investigation,the FTC obtained an audio recording ofthisconsum er'ssales
      callthatrevealsthe fullextentto which Defendantsm isled her. A transcriptofthisrecording is
      attached to the consum er'sdeclaration.A mong otherclaim s,Defendant'stelem arketerstated:
      ûtlwet'ssuppose you need to go to thehospital. Itold you thatthisplan have no deductible.
      W hen aplan have deductible,w hatthatmeansisthatyou haveto pay thousandsofdollarsfrom
      yourpocketbefore stal'treceiving benetitsfrom the insurance. ln thiscase,those don'twork in
      thatw ay. Thisis for- called tirstdollarcoverage plan,which m eansthatthe plan coveryou
      from the m omentyou enterin the hospital. The PPO network take care ofthe entire bill. They
      reprice thatand then they send you whatthey callthe cash benefitto coverthe rest. Attheend,
      whatyou pay is lessthan ifyou havea very high deductible. You neverpay anything - ...''
      gsicl.''1d.!12andp.l4.

                                                    21
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      over$60,000 inhospitalbiIIs.80 Contrarytothetelemarketer'srepresentations,Defzndants
      actually enrolled the consum erin a lim ited benefitplan thatcovered noneoftheseexpenses,

      leaving hertensofthousandsofdollarsin debt.81

             E.     Defendants'Sham ttverilication''Process

             Afterobtaining consum ers'paymentinform ation,Defendantssteerconsum ersthrough a

      sham duverification''process. Priorto the startofthisprocess,Defendants'telem arkdersoften

      instructconsum erjto disregard any veritication statem ents indicating thatconsumersw illnot

      receive com prehensive health insurance thatcoverstheirpreexisting m edicalconditions.Bz

             D uring verification,consumersare asked to confirm a seriesofdensely worded

      statem entsthatare eitherread by a separate em ployee ortransm itted electronically by em ailor

      textmessage. On m obile devices,these electronic disclosuresare rendered in pagesofsmall,

      barely Iegible text.sS Consum erswho chooseto have these statem entsread aloud arecautioned

      notto ask any questionsorthey w illbe transferred back to theirsalesrepresentative.B4 The

      length and com plexity ofthese statem entsm akeitvirtually im possible forconsum ersto



      80la !! 15-2I.
      81Ia*!21;.px 307Baker!20.
      82PX 3, Al-NajjarDec.! 9and p.19 (tû
                                         sorneoftheinformationwillsaytheywillapplytoyou
      and someofwhichwillnotapplytoyou....theyreadtheirscriptto everyone.'').A
      telem arketertold one consum erto disregard any inconsistenciesbetween the benetitsshehad
      beenqromisedandwhatwouldbedescribedduringverification,explainingthatdicertainthings
      are golng to apply foryou guys''and thatthe verification callisçûa script''thatmustbe read to
      everyone.PX l8,SlawsonDec.!! 9& 12.andp.19.
      83PX 2 Hawkins Dec !!8& lb andpp.16-33(duringthree-minuteelectronicverit
                           .                                                 ication of
      undercoverpurchase,investigatorsigned 11tim eson a 13-page docum ent,allviewed on a
      smartphonescreen).
      84Px I, MenjivarDec.!67andpp.426,
                                      -PX 8,FernandezDec.!6,
                                                           'PX 9,HackethalDec.!9($$1
      feltpressureto agreeto everything becausethe verification em ployee warned thatiflasked any
      questions,he would need to transferm e back to the salesagentwherethe processwould startall
      overagain.''),
                   'PX 22,VanDeusenDec.!.
                                        5(consumerfeltpressuredtoagreewithverification
      em ployee,who ttnotonly refused to answerany questions,butwarned thatlwould betransferred
      backtothesalesagentifItriedaskingaqaestion,wheretheprocesswouldstartal1overagain').
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      com prehend them .85 Regardless, the record created by thischarade doesnotrktlectconsum ers'

      understanding ofw hatthey agreed to purcl1ase.86

                    Defendants'Deceptive Cancellation and Refund Policies

             Consumersoften do notdiscoverthatthatthey have been m isled untilthey have paid

      Defendants,and in som e cases,continued to pay forthe productsform any months.hl
                                                                                     ? Those who

      callto canceltheirpoliciesand obtain refunds frequently are unable to reach acustom erservice

      representative,are prevented from canceling,are refused refunds,orare furtherm isled that

      Defendants'productsare com prehensive health insurance policies.88 one form erm anager



      85PX l3, Macary Dec.! 8(telemarketertû rushed''consumerthroughelectronicverincation,did
      notexplain any ofthe inform ation,consum erdid notfeelshe had the tim eto closely review
      documentsl;PX 21,TouchetDec.!6(same);PX l4,MandarichDec.!6(telemarketerttquickly
      read through a seriesoflong statem entsand periodically asked m e whetherlunderstood or
      agreed with these statem ents. ltw asdifticult,ifnotim possible,to follow everything thisperson
      said.''),
              'PX 9,HackethalDec.!7(samel;PX l0,HallDec.!6(samel;PX 22,VanDeusenDec.
      !5(same).
      86PX 3I,Seraphin Dec.! 17(formercustomerservicemanagerdescribingthousandsof
      complaintsreceivedeach daybyDefendantsfrom misledconsumers).Seealso PX 24,Fissel
      Dec.! 3(PennsylvaniaInsurànceDepartmentinvestigationpromptedbyhighvolumeof
      complaintsl;PX 25,DeclarationofGuyM iller(EdG.M illerDec.'')! 15(BBB alertregarding
      patternofconsumercomplaintsfiled againstDefendants).
      87See, e.g.,Px 15,PrescherDec.,
                                    'PX l7,SkordilisDec.;PX 18,Slawson Dec.
      88PX 6, BanskiDec.! 10(unabl eto reachanyoneby callingcustomerservicenumberprovided
      byDefendants'telemarketerl;PX 9,HackethalDec.!10(representativeeffectivelj'refused
      consumer'scancellation request,justifying refusalbysayingthatshehad 30day trlalperiodl;
      PX 13,M acary Dec.T 12 (aftermultiplecalls,customerserviceemployeeprom isedthat
      consumerwould be contacted within 48 hoursby som eone from D efendants'iûescalation
      department,''butnooneevercontacted herl;PX l6,ScottDec.! 15(consumercalledseven
      tim esand spoketo m ultiple employees,none ofwhom could satisfactorily explain why she had
      notreceivedpromised insurance)and! 16 (employeeattemptedtotalkconsumeroutof
      canceling by claimingthatDefendants'policiesarecheaperthan actualhealth insurance);PX l7,
      Skordilis!10(Defendants'employeeswcluldhanguponconsumerwhenshecalledl;PX 19,
      StanleyDec.!! 15-16(refusedtocancelpolicywithoutspeakingtoconsumer'sdatlghterl;PX
      20,Thompson Dec.! 10(ûtrudeanddism issive''supervisorwhotold consumerthatshehada
      ttbadattitude'l;PX 21,TouchetDec.!l0(constlmerhunguponatleastthreetimeswhile
      waitingonholdforsupervisorl;PX 22,VanDeusenDec.!! 10&13(managerclaimedthat
      consumerhadpurchased(sexcellentmedicalcoverage''andwouldnotbesubjecttotheACA
      penalty,andencouragedconsumertoscheduledoctorappointmentwithheriûconcierge'').
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      estim atesthatapproximately 95% ofthetwo to three thousand custom erservice calls received by

      Defendantseach day consisted ofçtcom plaintsfrom consumerswho had been m isled aboutthe

      benefitsthey w ould receive,typically people who were underthe im pression thatthey had

      purchasedmajormedicalinsurance.''Bg DefendantsusespeciallytrainedGçsavesteam''
      em ployeesand m isleading,scripted çtrebuttals''to talk consum ersoutofcanceling.g?

             W hen,forexam ple,an FTC investigatorattem pted to cancelthe lim ited benefitplan and

      discountm em bership sold to him by Defendants,the investigatorunam biguously told the

      custom erservice agentthathe had been deceived:

                     Iclearlytold (theagentlthatlneeded fullcoverageinsurance,and
                     ltold him thatlneeded thatto coverm y annualphysicalsand
                     doctor'svisitand Iab work....O nce lreceived the docum entsand
                     lstarted review ing them ,lrealized thatthe insurance cards
                     actually indicate thatit'sm ore like a discountplan ...and thatit's
                     notintended to replace health insurance.gl

      lnstead ofgranting the investigator'scancellation request,thc custom erscrvice agentargued

      with the investigatorforseveralm inutes,claim ing deceptively thathe had purchased a ûûgood

      policy''withno ikcopayments,no co-insurance,and (noldeductibles.''gz Evenaftertheagent
      finally seem ed prepared to com ply w ith the investigator'scancellation request,she firstoffered




      89px 31,seraphinDec.! 17.
      901d. at!!22-23.
      91px 2, HawkinsDec.! 13and p.l2l.
      92Id. (étso,forreal,itisaverygoodpolicv,sir.'').Thecustomerserviceagentwhohandledone
      ofthe FTC'Sothercancellation requestsdescribed the lim ited benefitplan sold to the FTC in
      jim ilarly deceptive term s: tûButnormalcheckup visits,you're covered. Ifyou gotto an
      em ergency room ,you're covered,orto a hospital,you'recovered. You haveno deductible and
      nocopayswhenyougotothedoctorsthatareinyournetwork.''PX 1,MenjivarDec.!72and
      p.550.


                                                      24
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      only to cancelthe ($heaIth portion''ofhispolicy and continue charging him forçsaccidental
      death''insurancethatD efendantshad included in the various products sold to him .93

                     ConsumerInjury
             Defendants'bank and telephone recordsshow both the scale oftheiroperationsaswellas

      theconsiderable harm ithascaused to consumers. These recordsindicatethatbetween January

      2016 and April2018,Defendants'boilerroom shandled over62 m illion callswith consum ers.g4

      Duringthissameperiod,bank recordsshow thatDefendants'schemegenerated wellover$150
      m illion in revenue.95

             H.      OtherLaw Enforcem entActions

             A sdetailed below,Defendantshave been thetargetofnum erous law enforcem entactions

      related to both thedeceptivem arketing oftheirproductsaswellasotherillegalconduct.

      Nevertheless,Defendantscontinueto actively m islead both consum ersand law enforcement.

      Forexam ple,although Defendantsrecord and saveaIloftheirsales ca1ls,96they tellregulatory

      authoritiesthatsuch recordingsdo notexist.97



      931d. atj.55l.Thesepr
                          oducts,accordingtoi!nemailreceivedbytheinvestigator,consistofa
      bewilderlngarrayofconfusingly-namedplansandservices,including:1)HealthChoice+
      American FinanclalSecurity Lifelnsuranceat$99.64 permonth;2)Teladoc24/7doctorvisits
      by telephoneat$29.99permonth;3)Association Duesat$12.50 permonth;4)Rx Helplineat
      $10.00permonth;5)Hea1th EducationProgram (PEP)Onlinehealth education& fitness
      trainingat$125 permonth;and 6)Freedom SpiritPlusCostinclusiveofmonthlyM ed-sensc
      Dues& Plan CostFederallnsuranceCompanyat$161.50 permonth.PX 2,HawkinsDec.! 11
      and p.43.
      94Px 15MenjivarDec.!54.
      95px 5!hGeorge Dec ! 9.
                           .

      96Px 3l,SeraphinDec.,!!28-3l(formermanagerl;PX 30,BakerDec.!19(former
      salesperson).Seealso,e.g.,PX l8,Slawson Dec.pp.9-20(transcriptofsalescallbetween
      consumerandDefendants).
      97Px 24, FisselDec.!7(interview withstatei
                                               nsuranceinvestigatorsinwhichDefendants'chief
      com pliance offlcerfalsely claim ed thatDefendantsonly record the veritication portion ofsales
      calls).Moreover,Defendantsremovemisleadingstatementsfrom therecordingsandprovide
      sanitizedversionstotheirbusinesspartner.PX 3l,SeraphinDec.!36(formermanager).

                                                     25
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                            Ceaseand DesistO rders

             ln July 2011,the lndiana Com m issionerofInsurance issued an emergency cease and

      desistorderagainstdefendantsteven Dorfinan afterfinding thathe had engaged in the

      unlicensed saleofinsurance to Indianaconsum ers.g8 six monthsIater,in January 2012,the

      Nebraska Departm entoflnsurance issued a sim ilarorder,tinding causeto believe thatDorfm an

      had sold insurance w ithouta Iicense in violation ofaN ebraska statute.gg

                            Florida Departm entofFinancialServicesInvestigations

             TheFloridaDepartmentofFinancialServices(ttDFS'')hasconductedatleastfour
      separate investigationsthatrevealed a pattern ofdeceptive practicessim ilarto those alleged in

      theFTC 'Scom plaint. Each ofthese investigationshasresulted in the issuance by D FS ofa letter

      ofguidance to Defendants. DFS issued itstirstletterofguidance in April20l5 aftertinding that

      Defendantshad im properly displayed a BetterBusinessBureau Iogo on multiple websites

      w ithoutauthorization.loo

             DFS conducted a m ore extensive investigation ofdefendantH eaIth BenefitsOne starting

      in July 2014.101 In a letterofguidance issued on June 17,2016,DFS concluded thatDefendants'

      ççw ebsitesand pressreleasesoverm ultiple yearscontained deceptiveadvertising thatim plied the

      agency prim arily sold A CA tobamacare'eligible products;however,theagency product

      portfolio consisted primarily ofindem nity productsand discountplansthatdid notprovide




      98px 1, MenjivarDec.! 77andpp.605-11.
      991d. !78andpp.613-19.
      100Px 1, MenjivarDec.!75,
                              .PX 25,G.M illerDec.!!21-24(VicePresidentofSoutheast
      FloridaBBB).
      10lpx 1, MenjivarDec.!75andp.555.lnresponsetoanini
                                                       tialsetofinquiriesfrom DFS,
      Defendantscategorized Dorfm an assim ply aSsm anager.'' In a letlerofguidance issued on June
      l7,2016,DFS noted thatDorfman was om itted from the agency Iicense application despite
      being identitied publicly asthe com pany'sfounderand CEO .
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      M inim um EssentialCoverage.''l02 The letteralso found thatDefendantsem ployed no agents

      certitied to sellACA health insurance policiesforthe 2014 and 2016 enrollm entperiods,and

      only sold 30 AcA-qualified policies in 20l5.103

             DFS issued a third letterofguidance on January l7,2018,finding thatHealth Benefits

      One allow ed itsem ployeestûto engage in deceptive and m isleading practicesby m isrepresenting

      thetennsofpoliciesplaced by the agency''forthreeconsum ers.lo;

             A fourth Ietterofguidance issued by DFS on August10,20l8 alleged thatL1ea1th

      BenefitsO ne allowed two ofitsagentsitto engage in deceptive and m isleading practicesby

      m isrepresenting theterm sofhealth policies''sold to two consum ers. Although these consum ers

      Stwantedtopurchasemajormedicalpolicies,''Defendantsûtplacedhealthpolicieswithlimited
      benefitswithoutthese consum ers'know ledge and consent.''los

                    3.      Pennsylvania lnvestigation

             ln June 2017,the Pennsylvania lnsurance Departm entbegan investigating a high volum e

      ofcom plaintsfiled by consum erswho had purchased whatthey had been led to believew ere

      AcA-com plianthealth insurance policies,butwhich actually turned outto bem edicaldiscount

      m em berships,indém nity policies,and sim ilarproducts.lo6 Afteridentifying D efendants asone

      ofthetelem arketersresponsible forselling these products,Pennsylvania investigatorsconducted

      two separate inspectionsofDefendants'callcenterin Hollpvood,Florida.107 During oneof




      1021d. atpp.562-66.
      l03Id atp.562.
      1041d. atpp.565-69.
      105Id. atpp.573-75. The Ietteralso notesthatDefendantsfailed to reportthe location oftheir
      form erBoca Raton branch to DFS asrequired by Florida statute.
      106px 24, FisselDec.! 3.
      107gd. at!6.


                                                     27
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      these inspections,investigatorsinterviewed Defendants'chiefcom pliance officer,who falsely

      claimed thatDefendantsdid notrecord the salesportion ofcallswith consum ers.lo8

                    4.     N ebraska A ttorney GeneralW arning

             ln a pressrelease dated July 10,2017,theNebraska Attorney Generalalerted consum ers

      thatiûscam artists...posing as BlueCrossand Blue Shield ofN ebraska ...are using fake

      Google and M anta listingsbearing Blue Cross's Iogo and web address,along with bogus

      physicaladdressesin Om aha.''109 Therelease cautionsthatttscam artists,''referring to

      Defendants,dsofferinsuranceplanswellbelow marketvalue...butneverprovideglinsurance
      cardsorproofofcoverage.'' Blue Cross Blue Shield ofN ebraska contacted Defendantsdirectly

      inform ing them ofthedeceptive internetlistings.l10 In response,Defendants blam ed the listings

      onanaftiliatemarketerlocatedinGujarat,India.ll1
                            M ontana A ction

             ln M ay 2016,the M ontana Com m issionerofSecuritiesand Insurance tiled a noticeof

      proposed agency action nam ing defendantHealth BenetltsOne.112 The com plaintalleged that

      HeaIth BenetitsOne and otherrespondentshad 6troutinely sold through m isinform ation and

      deception''short-term m edicalinsurance ûûby individualsnotproperly licensed orappointed in

      M ontanato conductthis insurancebusiness.''l13

      111.   DEFENDAN TS

             Defendantsare Steven J.Dorfman and the six Florida com paniesthrough which he

      operatesthis schem e: Sim ple Health Plans LLC,HeaIth BenefitsOne LLC,Health Center


      108gd atj7.
      109px 1, MenjivarDec.!79andpp.62l.
      110px 28, DeclarationofJohnClabaugh! 1l.
       lI1gd
       l12PX 1, MenjivarDec.!76andpp.566-603.
       1131d. atpp.579-80.


                                                     28
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      M anagem entLLC,lnnovative Custom erC'are LLC,Sim ple lnsurance LeadsLLC,and Senior

      BenefitsOne LLC. ln the United States,Defendantsm aintain two callcentersin south Florida

      and one in Dallas,Texas. Defendantsalso operate two offshore business locations in Panam a

      and the Dom inican Republic.l14

               A.    C orporate Defendants

               Sim pleH eaIth PlansLLC functionsprim arily asa shellcom pany thatDefendantsuse to

      do businessunderthe name ttsimple Health.''l15 Defendantsuse H ealth Beneits O neLLC,

      form ed in 2012,to transactm ostofthe scheme'sbusiness. Bank,m erchantprocessing,and

      telecomm unicationsaccountsassociated w ith Defendants'operations,aswellastheirprim ary
      Florida insurance agency lieense,are allin the nam e ofHealth BenefitsOne.l16 Sim ilarly, many

      ofDefendants'deceptive Iead generation websites are registered to Health BenefitsOne.117 Its

      bank accountshave received tensofm illionsofdollars in comm ission paymentsfor'the

      deceptive saleoflim ited benefitplansand medicaldiscountmem bershipsby Defendantsto

      consumers.l18 Defendantsuse these fundsto flnance the day-to-day operating expensesoftheir

      callcentersand funnelm illionsm ore to Sim ple Insurance LeadsLLC to buy consum erIeads

      from third parties.l19




      114px 1, Menji
                   varDec.! 75 and p.558-59;PX 30,BakerDec.! 3;PX 31,SeraphinDec.!7.
      115px 1 MenjivarDec.!!9(ttsimpleHealth''onnameglateatDorallocation)& 10(Etsimple
      Health''signaboveHollywood Iocationl;PX 4,DeclaratlonofKelle Slaughter!3 (ttsimple
      Health''on asignoutsideDallaslocation). ln additionto being aIimitedliabilitycompany,
      Sim ple Health Plansisalso a tictitiousbusinessnam e registered in Floridato defendantHeaIth
      BenefitsOne.SeePX l,MenjivarDec.!6andp.l17.
      l16PX 1, MenjivarDec.!!7(insurancelicense),53(telephone),56(bank),58(creditcards)&
      61(merchantprocessing).
      1171d at! 14-25(websi
           .              tedomainregistrations).
      118px 55George Dec ! 9.  .

      119px 5, GeorgeDec.! 10(From January2015throughApril2018,Health Benefi  tsOnepaid
      $73,240,237.45to SimplelnsuranceLeads). ManyofDefendants'Iead generationwebsitesrefer
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             Innovative Custom er Care LLC and SeniorBenentsO ne LLC also each receive

      significanttransfers from Health Benefits(7ne.l20 Defendantsform ed lnnovative CustomerCare

      in 20l7 to m anage theircustomerservice operations. M ostfundstransferred into lnnovative

      Custom erCare'sbank accountsare paid to Defendants'custom erservice employees. Senior

      BenefitsOne holdsa Florida insuranceagency license and is licensed to sellinsurance in

      m ultiple otherstates. HeaIth CenterM anagem entLLC isa m anaging m em berofSenior

      BenefitsOneand Sim ple Health Plans.

             B.      IndividualDefendant
             Steven J.D orfm an isa rcsidentofthisdistrict.lzl He controlsand actively m anagesthe

      corporate defendants.lzz He is identified On Defendants'm ain website asSim ple Health's

      tsfounderand CEO ,''and hasbeen quoted extensively in pressreleasesand otherm edia about

      Defendants'business.lz3 Dorfm an isa signatory On m any ofthe corporate bank accountsthat

      receive proceedsofDefendants'schem eand are used to pay itsoperating expenses.lz4

             Dorfm an's extravagantlifestyle isbankrolled by the com orate defendants. l1e has

      charged m illionsofdollarsforpersonalexpensesto creditcardsm aintained by these entitiesthat




      to a fictitious businessnam eregistered to Simple Insurance Leads,Health lnsurance Services,in
      thesites'privacypolicies.PX 1,MenjivarDec.!!6and28-39.
      120px 5, GeorgeDec.! 10(From January2017throughApril2018,Health BenetitsOnepaid
      lnnovativeCustomerCare$1,096.871.17andfrom M arch 20l5throughM arch 2018paid Senior
      BenefitsOne$971,500).
      12lpx 1, M enji
                    varDec.! 89.
      l22See, e.
               g.,Px 31,SeraphinDec.!8& 24(formermanager)(Dorfmanhasalargeofticeat
      Defendants'headquartersandreceivesadailyemailwithsalesandcancellationstatistics).
      123PX 1, Menji
                   varDec.!43andpp.333,387.SeealsoMarciaHerouxPounds,Obamacare,
      year/w0.
             .Insurancefrmshiringagentstohelp consumerschoosewisely,SunSentinel(Oct.24,
      2014),hlps://w w.sun-sentinel.com+usilless/careers/i-health-benefts-'
                                                                          lobs-zol4loz7-
      storv.htm l.
      124gd ! 57.

                                                    30
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      arethen settled w ith fbndst-
                                  rom Derendants,corporate accounts.lzs D orf-
                                                                             m an also spends

      lavishly on him selfusing fundsdirectly from the corporatebank accounts.A partialcatalog of

      personalexpensesthatDorfm an hastinanced with corporate funds,which are proceedsfrom

      Detkndants,scam,includes:over$1millioninjewelryilz6Iuxuryvehicles,including aRolls-
                                                                       .



      Roycew raithanda LamborghiniAventadorilz?$368,000 incashtransferstothecosmopolitan

      Hoteland Casino in Lasvegas;128$341,000 atnightclubs,includinga$57,000tab incurred at
      oneclubina singleevening.
                              ,129therenton his$1.4m illion oceanfrontcondom iniumil3oandhis

      recentwedding atthe St.RegisBalHarborResortin M iamiforwhich Dorfman spent$133,000
      on flowers alone.131

               C.    Com m on Enterprise

               Thecorporatedefendantsoperateasacommonenterpriseandarethereforejointlyand
      severally Iiable foreach other'sillegalconduct. To determ ine ifa com mon enterprise exists,

      courtsconsidervariousfactors,including:(1)maintaining ofticersandemployeesincommon;
      (2)operating undercommoncontrol'
                                     ,(3)sharing ofofficespace;(4)operatingthebusiness
      throughamazeofinterrelated companies;(5)commingling offunds'
                                                                 ,and (6)sharing of
      advertisingand marketing.SeeFTC v.Wash.DataRes.,856F.Supp.2d 1247,1271(M .D.Fla.
      2012)(citingDel.Watch Co.v.FFC,332 F.2d 745,746(2d Cir.l964));seealsoFTC v.fanier
      Ltzw,fLC,715F.App'x970,979 (11thCir.20l7)(percuriam)(ii(Ajcorporateentitycan be
      held Iiable forthe conductofotherentitieswherethe structure,organization,and pattern ofa



      125px 5, GeorgeDec.!! 14-25.
      126Id. !! 22 & 30.
      1271d.!33& 34;PX l,'Menjivaroec.!g'
                                        y.
      128px 5 GeorgeDec !31  .

      l291d ! 20andp.54.
           .

      130Id !31andp.77;PX 1,MenjivarDec.!89.
           .

      13lPx 5, GeorgeDec.!!28& 29andpp.67-75;PX 1,Menji
                                                      varDec.!52andpp.391-405.
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      businessventurcrevealacommon enterpriseoramazeofintegrated businessentities.''(internal
      quotationmarksomittedl).
             The corporate defendantsform a classic com m on enterprise. The six corporate

      defendantsengage in the same health insurance scam ;share ownership,m anagem ent,office

      locations,em ployees,fictitiousbusinessnam es,insurance licenses,leadsand lead generation

      websites;and com m ingle funds.

      lV.    ARGU M ENT

             The FTC seeksexparte entry ofatem porary restraining order,including an assetfreeze,

      appointm entofa tem porary receiver,and im mediate accessto Defendants'businessprem ises,to

      preventDefendants from dissipating assetsand destroying evidence. A ssetforth below,the

      evidence overwhelm ingly supportsentry ofthe proposed TRO .

             A.     ThisCourtHasthe A uthority to G rantthe Requested Relief

             Section 13(b)oftheFTC Act,l5U.S.C.j53(b),authorizestheFTC toseek,andthis
      Courttogrant,preliminaryandpermanentreliefenjoiningviolationsoftheFTC Act.SeeFTC
      v.Gem Merch.Corp.,87F.3d466,469 (1lthCir.l996)(t$(A1districtcourtmay order
      preliminary relietlincludinganassetfreeze,thatmaybeneededto makepermanentrelief
      possible.'').W ith thatauthoritycomesthepowerto grantûûancillaryrelietlincludingfreezing
      assetsand appointing aReceiver.''

      20l1)(percuriam)(quotingFFC v.US.OiI& GasCorp.,748F.2d 1431,1432 (11thCir.l984)
      (percuriaml).CourtsinthisDistricthavefrequently grantedthesameancillaryreliefthatthe
      FTC seekshere.l32



      132See, e.g.
                 ,FTC v.PointbreakMedia,LLC,No.0:18-cv-610l7-CMA (S.D.Fla.May7,2018)
      (entering exparteTRO grantingassetfreeze,immediateaccess,expediteddiscovery,and
      appointmentofreceiverl;FTC v.StudentDebtDoctor,LLC,No.l7-cv-6l937-W PI)(S.D.Fla.
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             B.     The FTC M eetsthe Standard forlssuanceofa Tem porary Restraining
                    O rder

             TograntpreliminaryinjunctivereliefinanFTC Actcase,districtcourtsconsider:(1)the
      IikelihoodthattheCommissionwillultimatelysucceedonthemerits,and (2)thebalanceofthe
      equities.SeeFTC v.1AB M ktg.Assoc,LP,746 F.3d 1228,1232(1lthCir.2014),
                                                                           'seealsoFTC
      v.Univ.Health,Inc,938 F.2d 1206,l217 (11thCir.1991).TheFTC,unlikeprivateplaintiffs,
      need notestablish irreparable harm . See1v1B M ktg,746 F.3d at 1232. A sdemonstrated below,

      the FTC'Sevidence satistiesthetw o-parttestand warrants issuanceofatem porary restraining

      orderagainstDefendants.

                           The FTC lsLikely to Succeed on theM erits

             To show thatitis likely to succeed on the merits,the FTC need only presentevidence

      thatittçlikelywillprevail,''ratherthanevidencethatwouldjustifyattfinaldetermination.''Univ.
      H ea1th,938 F.2d at 1218. The FTC satisfiesthe standard by establishing ççsome chance of

      probablesuccessonthemerits.''FFC v.World WideFactors,Ltd.,882 F.2d344,347 (9thCir.
      1989);FFC'v.Wash.DataRes.,2009W L4885033at*11(M.D.Fla.Dec.14,2009),aff'
                                                                            din
      part,vac'dinpartonothergroundsbyFTC v.Bishop,425F.App'x 796(1lthCir.20l1).133



      Oct.3,2017)(same);FFC v.Am.StudentLoan Consolidators,LLC,No.17-61862-DPG (S.D.
      Fla.Sept.26,20l7)(same);FFC v.StrategicStudentSols.LLC,No.9:l7-cv-80619-W PD (S.D.
      Fla.M ay 15,2017)(samel;FFC andFloridav.Marcus,No.0:17-cv-60907-FAM (S.D.Fla.
      M ay 9,2017)(samel;FFC v.WorldPatentM ktg.,Inc.etaI.,No.l:17-cv-20848-DPG (S.D.Fla.
      M ar.8,2017)(samel;FFC v.DolMuthoritycom,Inc,0:16-cv-62186-W JZ (S.D.Fla.Sept.19,
      2016)(same);FTC v.D&SM ktg.Sols.LLC,etaI.,No.8:l6-cv-01435-M SS-AAS (M .D.Fla.
      June8,2016)(samel;FFC v.AllUsMktg.LLC etaI.,No.6:l5-cv-1016-ORL-28GJK (M .D.Fla.
      June22,2015)(samel;FFC v.MailTree,Inc,No.0:15-cv-6l034-JlC (S.D.Fla.May 19,2015)
      (samel;FTC v.PartnersinHcalthCarcAssoc,Inc,No.1:14-cv-23109-RNS(S.D.Fla.Aug.
      25,20l4)(same).
      133The evidence used to supportsuch a show ing can includetsaffidavitsand hearsay m aterials.''
      feviStraussttCo.v.Sunrise1nt1Trading,5lF.3d982,985(11thCir.l995)*
                                                                      ,seealsoFTC v.
      PrimaryGrp,Inc,20l5 W L 12976115,at*4 (N.
             .                                 D.Ga.June8,20l5).
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             Here,the evidence establishesthatthe FTC islikely to prevailon itsclaim that

      D efendantsviolated the FTC Actand thelMelem arketing SalesRule through theirdeceptive sale

      oflim ited benetitplansand m edicaldiscotlntmem berships.The evidence also showsthatthe

      corporatedefendantsarejointlyandseverallyliablebecausetheyoperatedasacommon
      enterprise and thatindividualdefendantSteven Dorfm an isliable forthese practices.

      Accordingly,the FTC is likely to succeed on the m erits ofits claim s.

                            a.      DefendantsA re Violating the FTC Act

             Defendantsare violating the FTC Act,which prohibitsEtdeceptive actsorpracticesin or

      affectingcommerce.'' l5 U.S.C.j45(a).An actorpracticeisdeceptive ifitinvolvesamaterial
      m isrepresentation orom ission thatislikely to m islead consum ersacting reasonably underthe

      circumstances.seeFTC v.PeopleCreditFirst,LLC,244F.App'x942,944(11thCir.2007)
      (percuriam)(followingFFC v.Tashman,318 F.3d 1273,l277(11th Cir.2003)).tûExpress
      claim s,ordeliberately m ade im plied claim s,used to induce the purchase ofa particularproduct

      orservice are presum ed to bem aterial.''FTC.v.TransnetWireless Corp.,506 F.Supp.2d 1247,

      1267(S.D.Fla.2007),
                        .seealsoFTC v.Pantron1Corp.,33F.3dl088,1095-96(9thCir.1994).
      ln determ ining whethera solicitation is likely to m islead consumers,courts considerthe overall

      tinetim pression''itcreates. SeeFTC v.RCA CreditSenw,LLC,727 F.Supp.2d 1.
                                                                              320,1329

      (M .D.Fla.2010)(citingFFC v.Stefanchik,559F.3d924,928(9thCir.2009)).:tA solicitation
      may be likely to m islead by virtue ofthe netim pression itcreates even though the solicitation

      alsocontainstruthfuldisclosures.''RCA CreditServs.,727 F.Supp.atl329(quotingFFC v.
      Cyberspace.com,LLC7,453F.3dl196,1200(9thC'
                                               ir.2006)).Finally,theFTC neednotprove
      thatconsum ersactually relied on theclaim s. See Transnet WirelessCorp.,506 F.Supp.2d at

       1266-67
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            Defendantsmakeatleastfourmateriallymisleadingclaims:(1)thatDefendants'limited
      benetitplansand m edicaldiscountmembershipsarecom prehensivehealth insurance orthe

      equivalentofsuch insurance;(2)thattheseproductsarequalitiedhealth insuranceplansunder
      theAffordableCareAct;(3)thatDefendantsareexpertson,orprovidersofgovernment-
      sponsoredhealth insurancepolicies;and (4)thatDefendantsareaffiliatedwithAAFLPorthe
      Blue CrossBlue Shield Association.

            AIlofthese claim sare false.Thcy are also prcsumed to bc m aterialas they are Edused to

      induce the purchase ofa particularproductorservice.'' RCA CreditSenw ,F.Supp,2d at l329

      (quoting TransnetWirelessCorp.,506 F.Supp.2dat1267)'
                                                         ,seealso FTC v.Slimzqmerica,Inc,
      77 F.Supp.zd 1263,1272 (S.D.Fla.1999).Each ofDefendants'claimsislikelytoaffecta
      reasonableconsum er'sdecision aboutw hetherto purchase Defendants'products. Indeed,as

      reflected by the attached declarationsfrom Defendants'victim sand form erem ployees,these

      m isrepresentationshave induced consumersto pay hundredsofdollarsa m onth forwhatthey

      believed would be comprehensive health insurance oritsequivalent.l34

            These m isrepresentations are notcured by the farcicalttveritication''processthat

      consumersaresubjectedtoattheendofthesalescall,aftertheysubmittheirpayment
      information.See1AB Mktg,746 F.3d at1233 (operatorsofmedicaldiscountschemecannotshiû
      blam eto consum ersby faulting them fornotreading post-sale disclosures,which do notcure




      134The consum erswhosedeclarationsare subm itted herew ith in supportofthe FTC 'Sm otion are
      onlyafractionoftheconsumerswhohavebeeninjuredbyDefendants'conduct.See,e.g.,PX 3,
      Al-NajjarDec.!!14-16(145consumercomplaintsagainstDefendantsintheConsumerSentinel
      Databasel;PX 31,SeraphinDec.!31(formermanager)(thousandsofcallsreceiveddailyby
      Defendantsfrom deceivedconsumers).
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      misrepresentationsmadeduring initialsalespitch)(citing Tashman,3l8 F.3d at1277(caveat
      emptorisnotavalid defensetoliabilityarising from misrepresentationsl).135
                           b.      Defendants Are Violating theTSR

             TheTelemarketing SalesRule(ttTSR'')prohibitsdeceptiveandabusivetelelnarketing
      practices,including m isrepresenting any m aterialaspectofthe nature orcentralcharacteristicsof

      goodsorservices,16C.F.R.j3l0.3(a)(2)('
                                           .iii),ormakingafalseormisleadingstatementto
      induceanypersontopayforgoodsorservices,16c.f'.R.j3l0.3(a)(4).136 Asexplainedabove,
      Defendantsare violating these two provisionsofthe TSR by falsely leading consum ersto believe

      thatthey w illreceive com prehensive health insurance,the equivalentofsuch insurance,oran

      AcA-qualitied health insurance policy. Defendantsalso violate these provisionsby falsely

      claim ing to beexpertson,and providers017
                                              ,governm ent-sponsored health insurance policies.

      Defendantsalso violate a third provision oftheTSR,which prohibitsm isrepresenting an

      affiliation w ith,orendorsem entorsponsorship by,any person orgovernm ententity. l6 C.F.R.

      j310.3(a)(2)(vii). Despiteclaimsto thecontrary ontheirlead generationwebsites,Defendants
      are notaffiliated w ith eitherAARP orthe BlueCrossBlue Shield A ssociation.




      l35SeealsoRemovatron1nt1Corp.v.FT(=
                                        -,884 F.2d 1489,1497 (1stCir.1989)(dtlnisclaimers
      orqualiticationsinanyparticularadarenotadequatetoavoidliabilityunlesstheyare
      sufticiently prom inentand unam biguousto changethe apparentm eanlng ofthe claim sand to
      leave an accurate im pression. Anything lessisonly likely to causeconfusion by creating
      contradictorydoublemeanings.'l;Wash.J'
                                           ltz/JRes.,856F.Supp.2dat1275(FTC Actis
      violated ifthe seller(tinducesthe tirstcontactthrough deception''despite buyerIaterobtaining
      moreinformation(quotingResortCarAcn/tz/Sys.,Incv.FFC,518F.2d962,964(9thCir.1975)
      (percuriaml).
      136Defendantsare tisellers:orkûtelem arketers''asdetined by the TSR because they arrange for
      thesaleofgoodsorservices.16C.F.R.j310.2(dd),(f9,& (gg).
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                             C.     StevenDorfmanlsIndividually Liableforlnjunctiveand
                                    M onetary Relief

             DefendantSteven Dorfm an isresponsible forthe illegalactivity ofthe corporationsthat

      hecontrols.137 An individualmay beheld liableforinjunctivereliefundertheFTC Actifthe
      individualparticipated directly in orhad atlthority to controlthe practices,and m ay be held Iiable

      form onetary reliefifthe individualhad actualorconstructive know ledgeofthe unlaw fulacts.

      See 1AB Af/c/g.,746 F.3d at1233*
                                     ,Gem M erch.Cory ,87 F.3d at470*
                                                                    ,FTC v.Bay xdretzBus.

      Council,Inc,423F.3d627,636(7thCir.2005);FFC v.WorldMediafrtp/ccrx,415F.3d758,
      764 (7thCir.2005).Authoritytocontrolmay beevidenced byactive involvementinthe
      corporation'sbusinessaffairs,including assum ing the dutiesofan officer,particularly when the

      corporate defendantisa sm all,closely held entity. See1AB M ktg.,746 F.3d at1233,
                                                                                      .FFC v.Amy

      Travels'
             cnc,Inc.,875F.2d 564,573-74(7thCir.l989)).TheFTC doesnotneedt()show intent
      todefraud.See1AB Mktg.,746F.3dat1233;FFC v.AffordableMedia,LLC,179F.3d l228,
      1234 (9thCir.1999).lnstead,theFTC needonly show thattheindividualhad actualknowledge
      ofm aterialm isrepresentations,recklessindifferenceto thetruth orfalsity ofsuch

      representations,oran aw arenessofa high probability ofdeception,coupled w ith intentional

      avoidance ofthe truth. See USA Fin.,LLC,415 Fed.Appx.at974.
                                                                ,see also FTC v.FTN Promo.,

      Inc.,No.8:07-CV-l279,2008 W L 821937,*2(M .D.Fla.M arch 26,2008),
                                                                      .FFC v.Jordan
      Ashley,No.93-2257,l994 W L 200775,*.
                                         3 (S.D.Fla.Apr.5,1994).Participation in corporate
      affairsisprobative ofknow ledge.See 1AB M ktg.,746 F.3d at1233.




      137Asnoted above in Section lll.C,supra,the corporatedefendantsdo notfunction as
      independentlegalentities,butasan interrelated network to facilitate Defendants'scam . They
      arethereforejointlyandseverallyliableforDefendants'conductbecausetheyhaveoperatedasa
      com m on enterprise.
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               D orfm an isthe soleofticeroffourofthe six closely held corporate defendants,including

      theentity thatservesasthe sole m anagerofthe rem aining two corporations. He unquestionably

      controlsand participates in theirpractices. Hem aintainsan office atDefendants'headquarters

      in Hollywood,Florida,isa signatory on corporate bank accounts,and hasconverted m illionsof

      dollarsin corporate assets forhispersonaluse. Dorfm an isfully aware ofDefendants'unlawful

      practices,having been interview ed atleastonce in connection with Florida'sregulalrry
      investigationsofD efendants.l38 He also receivesa daily em ailsum m arizing both the num berof

      cancellationsand reasonswhy consum ersdecide to cancelDefendants'products.l3g Them ost

      com mon cancellation reason identitied in these em ails,by far,isdeception- specitically,

      complaintsfrom consumerswhoweremisledintobelievingthattheywouldreceivemajor
      medicalhealth insurance.l4o CourtsroutinelyfindindividualsIiableforinjunctiveandmonetary
      reliefin such circumstances.See1AB Afl4j'
                                              ,746 F.3d at1233(individualdefendantsnamed in
      FTC action againstm edicaldiscountscheme Iiable foractionsofcorporate defendantsbased on

      theiractive involvem entin businessaffairsand evidence showing som e know ledge ofdeceptive

      practices);FFC v.Partnersin Health Ctzrt!Ass'
                                                  n,Inc,l89 F.Supp.3d 1356,1367-.68(S.D.Fla.
      2016)(individualdefendantnamed inaction broughtagainstdeceptivesellerofmedicaldiscount
      card liable foractionsofcorporate defendants because individualhad authority to controlseller's

      day-to-dayactivitiesandwasawareofunderlyingdeceptivepractices).
                      2.     TheBalanceofEquitiesStronglyFavorslnjunctiveRelief
               O nce the FTC hasshow n a Iikelihood ofsuccess on the m erits,the Courtm tlstbalance

      the equities,giving greaterweightto thepublic interestthan to any ofDefendants'private


      138yloridaand Pennsylvania regulators interviewed Dorfm an in connection with a2017
      investigationofDefendants.PX 1,MenjivarDec.!75andp.570.
      139px 31, Seraphi
                      n Dec.! 24.
      14()gd
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      concerns.See World Wide Factors,L/#.,882 F.2d at347;FFC v.World TravelVacation

      Brokers,Inc,861F.2d 1020,l029 (7th Cir.1988).There isastrong publicinterestin halting
      Defendants'fraudulentconductand preserving assetsforrestitution. Defendants,by contrast,

      have no legitim ate interestin continuing theirscam .See World Wide Factors,Ltd.,882 F.2d at

      347 Ctno oppressivehardshiptodefendantsinrequiringthem tocomply with theFTC Act,
      refrain from fraudulentrepresentationorpreservetheirassetsfrom dissipation orconcealmenf);
      seealso1ABMktg.,746F.3datl233(FTC metburdenofshowingthatinjunctionwouldserve
      thepublicinterest).TheevidencedemonstratesthatPlaintiffislikelytosucceed onthemerits
      andthataninjunctionisnecessarytoensurethatDefendantsdonotcontinuetheirschemewhile
      the case ispending. The requested TRO istherefore warranted.

             C.     TheTem porary Restraining O rder Should lnclude an A ssetFreeze,
                    Appointm entofa Receiver,and O therA ncillary R elief

             The evidence showsthatthe FTC islikely to succeed in show ing thatD efendantsviolated

      the Iaw ,and the balance ofthe equitiesis in the FTC'Sfavor. TheFTC therefore requeststhat

      the courtissue aTRo thatprohibitsfuture law violations,l4lpreservesassets, and im posesa

      tem porary receivership to ensurethatthe Courtcan granteffective finalrelief,including

      restitution,in thiscase.142 Asnoted above, such an orderiswellw ithin the Court'sauthority.

                    1.     An AssetFreezeIsNecessaryto PreservethePossibility ofProviding
                           R estitution to Defendants'Victim s

             The Eleventh Circuithasrepeatedly upheld the authority ofdistrictcourtsunderSection

      l3(b)oftheFTC Actto imposeanassetfreezeto preservethepossibilityofconsumerredress.
      See,e.g.,1AB M ktg,746 F.3d at1234,
                                        .Gem M erch.Corp.,87 F.3d at469,
                                                                       .U S.OildrGas Corp.,



      141specifically, the requested conductprobibitionsin the proposed TRO require only that
      Defendantscom ply w ith the FTC Actand the TSR.
      142A proposed TRO hasbeen filed concurrentlyw ith the FTC'STRO application.
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      748 F.2d at1433-34. M oreover,the Eleventh Circuithasrecognized thatthe ûIFTC'Sburden of

      proofin the asset-freeze contextis relatively light.''1AB M ktg,746 F.3d at 1234.l43 A saresult,

      coul'ts in thisDistricthave frozen the assetsofdefendantsin num erousFTC enforcem entactions.

      See casescited supra note 132.

             An assetfreeze isnecessary to enstlre thatfundsare available forconsumer redress. The

      needisespeciallypressingheregiventhemagnitudeoffinancialinjurycausedbyDefendants'
      scheme,which isresponsibleforover$150 million in consumerharm inthepastthreeyears

      alone.A freezeisalsojustifiedbythethreatofassetconcealmentordissipation.Defendants
      m aintain bank accounts in Panam aand the Dom inican Republicto w hich they could easily

      transferfunds in theabsence ofan assetfreeze.l44 M oreover, as show n above,individual

      defendantDorfm an hasspentm illionsofdollarsin corporate fundsto pay forhispersonal

      expenses,includingoveramilliondollarsinjewelry,hundredsofthousandsofdollarsonhis
      wedding,and $368,000ataLasVegascasino.AstheFTC islikelytosucceed inslzowingthat
      Dorfman ispersonally liable forrestitution,the assetfreeze should extend to hisassetsaswell.

      SeeGem Merch.Corp.,87F.3d at470(upholding useofindividualdefendants'assetsfor
      restitution).
                      2.    A Temporary ReceiverlsNecessary toPreservetheStatusQuo
             The FTC Actauthorizesa districtcourtto appointa receiverto overseea business.See

      &L5'
         .Oil& Gas Corp.,748 F.2d at1432;see also casescited supra note l32. W hen a corporate

      defendanthas used deception to obtain m oney from consum ers,ûûitislikely that,in theabsence


      143The FTC isnotrequired to presentevidencethatassetsw illbe dissipated,Gtonly show a
      concern thattheDefendants'assetswilldisappear.''FTC v.WorldpatentMktg.,Inc.,2011W L
      3508639,at*17(S.D.Fla.Aug.16,2017)(citing1ABAf/c/g.Assocs.,LP,972F.Supp.2dat
      1313 n.3).
      144PX 5, GeorgeDec.!37 (over$20m illion in offshoretransfersbetweenM arch2015and
      April20l8).
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      oftheappointmentofareceivertomaintainthestatusquo,thecorporateassetswillbesubjectto
      diversionandwaste''tothedetrimentofvictims.SEC v.FirstFin.Grp.oflkr,645F.2d429,
      438 (5thCir.1981).
             A ppointm entofa receiverisparticularly appropriatewhen,ashere,pervasive fraud

      presentsa strong Iikelihood ofcontinued nlisconduct.A tem porary receiverwould preventthe

      destruction ofdocum entsand dissipation ofassets aswellassecure the sensitiveconsumerdata

      thatDefendantshave collected. The risk ofdocum entdestruction isespecially high given

      Defendants'history oflying to regulatorsaboutthe existence ofsalesrecordingsaswellastheir

      practice ofaltering these recordings.A receivercould also assistthe Coul'
                                                                              tin assessing the

      extentofDefendants'fraud,trace the proceedsofthatfraud,and m akean independentreportof

      Defendants'currentand pastactivitiesto the Court.

                    3.      lm m ediate Access and Expedited D iscovery AreN ecessaqy to
                            Preserve Evidence

             The proposed TRO would grantthe tem porary receiverand the FTC im m ediate accessto

      the corporate defendants'physicalbusiness prem isesto locate and to secure Defendants'assets

      and docum entspertaining to theirbusinesspractices. Im m ediate access iscriticalto protecting

      evidenceagainstdestructionandensuringthattheCourtcan ultimatelydeterm ine:(1)the full
      scopeofDefendants'law violations'
                                      ,(2)theidentitiesofinjuredconsumers'
                                                                         ,(3)thetotalamount
      ofconsumerinjury;and(4)thenature,extent,andlocationofDefendants'assets.Theproposed
      TRO would also allow lim ited expedited discovery to aid in locating docum entsorassetsand to

      assessD efendants'compliance w ith the proposed TRO . Courtsin thisdistricthave frequently

      granted thisreliefin sim ilarcases. See casescited supra note l32.

             From the inception oftheirschem e,Defcndantshave show n a willingnessto m islead

      regulatorsand law enforcem entin orderto hidetheirillegalconduct. Defendantshave,for
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      exam ple,repeatedly lied to investigatorsaboutthe existence ofsales recordingsand w ithheld

      information thatthey are legally obligated to discloseto state licensing authorities. Although

      Defendantsareobligated to reportalIlocationsfrom w hich they operate to the Florida

      Departm entofFinancialServices,they havedisclosed only one ofthesethree Iocations. ln light

      ofthisand sim ilarconduct,Defendantsare unlikely to be forthcom ing in discovery ortake

      seriously theirobligation to preserve recordsrelevantto thiscase.

             D.     The Tem porary Restraining O rder Should BeIssued Ex Parte

             To preventDefendantsfrom dissipating orconcealing theirassets,the requested TRO

      should be issued exparte. An exparte TRO isw arranted when the factsshow that imm ediate

      andirreparableinjury,loss,ordamagewilloccurbeforethedefendantscanbeheardin
      opposition.SeeFed.R.Civ.P.65(b).Asnotedabove,thereisaseriousriskthatassetsand
      evidence syem m ing from Defendants'illegalactivity willdisappear ifthey receive priornotice.

      Theblatantly deceptive nature ofDefendants'schem e presentsa seriousrisk thatDefendants

      w illdestroy docum entsand dissipate assets ifgiven advance noticeofPlaintiff sm otion.145

      Indeed,such behavioris likely in thiscase given theentirely fraudulentnature ofDefendants'

      businesspractices,theirpractice ofregularly funncling large sum sofcash overseas,and the steps

      they havetaken to concealtheirillegalconductfrom Iaw enforcem entand regulators.




      l45plaintiffsRule65*)Declarationo/clt
                                          al/nxc/,filedcontemporaneouslyherewith,describes
      the need forexparte reliefand citescasesin which defendantswho learned ofim pending FTC
      actionswithdrew funds,destroyedvitaldocumentsandtledthejurisdiction.Declarationsof
      counselprovide an appropriate basis forgranting exparte relief Aln
                                                                       & TBroadband v.Tech
      Commc'ns,Inc ,381F.3d 1309,1319-20 (1lth Ci
                                                .     r.2004).

                                                     42
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      V.       CO NCLUSION
               Forthe above reasons,the FTC respectfully rcqucststhatthisCourtissue thc attached
      proposed TRO with assetfreeze,appointmentofa receiver,im m ediate access,and other
      equitablerelietlandrequireDefendantstoshow causewhyapreliminaryinjunctionshouldnot
      issue.


      Dated: O ctober29,2018               Respectfully subm itted,

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